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                        EXHIBIT

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Walden University
Doctoral Program Review
October 23, 2019
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Authors                                           About the Minnesota Office of Higher
                                                  Education
Susan E. Andersson
                                                  The Minnesota Office of Higher Education is a
Doctoral Program Specialist                       cabinet-level state agency providing students
Tel: 651-259-3933                                 with financial aid programs and information to
susan.andersson@state.mn.us                       help them gain access to postsecondary
Betsy Talbot                                      education. The agency also serves as the state’s
                                                  clearinghouse for data, research and analysis on
Manager, Institutional Registration & Licensing   postsecondary enrollment, financial aid, finance
Tel: 651-259-3965                                 and trends.
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                                                  The Minnesota State Grant Program is the
                                                  largest financial aid program administered by
                                                  the Office of Higher Education, awarding up to
                                                  $198 million in need-based grants to Minnesota
                                                  residents attending accredited institutions in
                                                  Minnesota. The agency oversees tuition
                                                  reciprocity programs, a student loan program,
                                                  Minnesota’s 529 College Savings Plan, licensing
                                                  and early college awareness programs for youth.




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Part One: Overview

1.1 About the MN Office of Higher Education
In the United States, the oversight of postsecondary institutions is a shared responsibility between the federal
government, state governments, and accreditation organizations, commonly called “the triad.” The federal
government is responsible for the administrative and fiscal integrity of its student financial aid programs; state
governments issue licenses to institutions that are eligible to operate in the state 1 ; and accreditation organizations
are responsible for ensuring that programs and institutions of higher education meet acceptable levels of quality
in teaching and learning while also promoting continuous improvement in those areas.

The Minnesota Office of Higher Education (OHE) authorizes private colleges and universities to operate in
Minnesota through registration under the Minnesota Private and Out-of-State Public Postsecondary Education
Act. 2 The registration process is used to validate the legitimacy of courses and programs leading to academic
degrees of private nonprofit and for-profit institutions operating in Minnesota. 3 The purpose of this validation
process is to provide assistance and protection for persons choosing private institutions and programs. 4

Under the Act, OHE is responsible for establishing policies and procedures to assure the legitimacy of private
postsecondary education institutions and programs. 5 One of OHE’s policies and procedures is to investigate
complaints from students that question the authenticity and legitimacy of their private institution, its programs,
and its adherence to its policies and procedures. 6 In the event of violations of the above items, OHE has authority
to request the institution take remedial action or take administrative action against the institution.




1
  In Minnesota, the licensure process for degree-granting institutions is called “registration”.
2
  See Minn. Stat. §136A.61-136A.71
3 See Minn. Stat. §136A.61

4 See Minn. Stat. §136A.61
5 See Minn. Stat. §136A.61
6 Complaint investigations are were codified in 2017 under Minn. Stat. §136A.672. When OHE is unable to determine the

nature and activities of a school on the basis of the information required for registration under Minn. Stat. §136A.672 subd1,
OHE shall notify the school of additional information needed. See Minn. Stat. §136A.64 subd. 4.


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1.2 Executive Summary
The Minnesota Office of Higher Education (OHE) completed a program review of Walden University’s doctoral
programs. Walden University (Walden) is a degree-granting institution with administrative offices in Minnesota
and has been registered with OHE since 1997. The purpose of the comprehensive program review was to 1)
understand the context, background, and issues related to student complaints; 2) ensure that doctoral programs
are providing quality programs for students; 3) collaborate with institutions to take corrective action, if needed;
and 4) substantively decrease the frequency of doctoral student complaints. In order to meet these goals, the
objectives of the program review were to increase OHE’s understanding of student complaints, student retention
and completion, doctoral curriculum, and doctoral faculty. 7 Further, OHE requested information related to
Walden’s recruitment practices, advertising, and student advising.

The intended audience for this report is the Minnesota Office of Higher Education. Information provided herein
will assist OHE in understanding the nature of complaints filed from 2008-2016, as well as context and background,
in order to process complaints from Walden’s doctoral students in the future. Doctoral programs require a high
degree of knowledge and skill in the production of independent research or a scholarly product. Students work
independently to complete this product during the final phases of their program (referred to herein as “capstone”
or “capstone phase”) and there are distinct steps and requirements to gain approval of the final product.
Furthermore this report will provide clarity into the curriculum, faculty, and administrative oversight of doctoral
programs offered by Walden University.

As noted in the goals and objectives, the program review is intended to provide OHE with a comprehensive review
of doctoral programs in order to increase the office’s understanding of complaints. This understanding will be
useful to OHE in reviewing future complaints, as filed from Walden University. The report is comprised of three
sections: 1) introduction to OHE and Walden University with an overview of the complaint categories, 2)
background regarding Walden’s doctoral programs, and 3) review of Walden’s policies and practices connected
to the complaint categories. The report is presented in this manner to provide the rationale for program review
and background on Walden’s doctoral programs prior to the review of policies and practices related to the
complaint categories.

Student complaints can be attributed to a variety of reasons. The aim of the review is not to make conclusive
statements that there is a definitive cause(s) to student complaints, given the nuances of the complaints and the
limits in the information provided to OHE. 8 Rather, the aim was to more fully understand the categories and
patterns as viewed through the student complaints, which may provide opportunities for Walden for continued
improvement and for OHE to gain additional understanding and context, as well as establish benchmarking in
order to better respond to future student complaints.

Based on the categories identified through the review of complaints, OHE reviewed Walden’s policies and
practices related to 1) committee member roles and turnover, 2) student progress and withdrawals, and 3)
advertising. Findings from this review suggest that Walden has implemented a number of initiatives aimed at

7
    See Appendix A, Minnesota Doctoral Program Review Process
8
    For instance, complete complaint files and correspondence for internal complaints were neither requested nor provided.

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decreasing the concerns identified in the student complaints. Many of these recent initiatives include 1) an update
to program web pages to display a range of program credits and costs, 2) policies for committee loads, 3) policies
for grading capstone courses, and 4) early assessment of writing skills at the time of admission. Because many of
the initiatives were recently implemented, OHE recommends continued monitoring of these interventions and
their target outcomes in order to determine their impact on the doctoral student experience and if the number
of doctoral student complaints decreases.


1.3 About Walden University
Walden University is a for-profit postsecondary institution with academic headquarters in Minneapolis,
Minnesota. Walden provides distance-education to students in all 50 states, the District of Columbia, and select
programs are provided to international students. Walden offers degrees (baccalaureate, masters, and doctoral
levels), certificates, and teacher endorsements. Walden was founded in 1970 and accredited by the Higher
Learning Commission (HLC) in 1990, with its most recent re-affirmation in 2013. Walden initially registered its
doctoral programs with the Minnesota Office of Higher Education in 1997 (at that time they were regulated under
the Private Career School Act, renumbered to Minn. Stat. §136A.82-136A.824). 9

Walden’s stated mission is to provide a diverse community of career professionals with the opportunity to
transform themselves as scholar-practitioners enabling them to create positive social change. 10 Walden notes that
they serve and provide “broad access” to underrepresented populations, which may otherwise not have the
opportunity to further their education. 11 Walden indicates that is not a traditional or typical university; the
average age of a Walden student is 39 years old, 76% are female and 56% are minorities. According to Walden
survey results, 76% of Walden students are working full time, 53% have one or more children living in the home,
and 53% are first generation students whose parents have not completed a bachelor’s degree. As of fall 2016,
Walden had approximately 56,000 active students.

As of spring 2016, Walden offered a total of twenty (20) distinct doctoral programs, including traditional
(conferring the Doctor of Philosophy) and professional doctoral programs (conferring the Doctor of Business
Administration, for example). Doctoral degrees are the highest level of degree one can earn and can be awarded
in a variety of fields or subject areas. According to Walden, doctoral programs, including the process of completing
a dissertation, are extremely rigorous and require a high-level of academic work and extensive research and
original writing. 12




9 Walden noted its first doctoral degree offering was in 1970 and Minnesota recognized Walden’s Ph.D. and Ed.D. degrees
since 1979.
10 10/28/2016 Walden letter to OHE
11 10/28/2016 Walden letter to OHE
12 OHE is in agreement with this statement.


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1.4 Rationale
The Office of Higher Education experienced an increase in the number of complaints from students in online
doctoral programs, including those offered by Walden University. OHE decided to initiate a program review of
Minnesota-based, online-delivered doctoral programs in order to:

         1) Understand the context, background, and issues underlying student complaints,
         2) Ensure that doctoral programs are providing quality programs for students,
         3) Collaborate with institutions to take corrective action, if needed, and
         4) Substantively decrease the frequency of doctoral student complaints. 13

Given the complaints received by the Minnesota Attorney General’s Office (MNAG) related to Walden University’s
doctoral programs (N=18) 14 , the MNAG determined follow up by OHE was warranted. The complaints submitted
to the Minnesota Attorney General’s Office centered on students’ experiences while completing the capstone
phase of the program (dissertation or doctoral project). Students relayed concerns that Walden’s practices may
have needlessly delayed student progress, resulting in additional unnecessary costs. These complaints were
similar in nature to those received directly by the office; however, OHE did not validate these complaints or use
them in the review unless the complaints were also filed with the office. 15

Based on the nature of the complaints as filed directly by students to the Minnesota Office of Higher Education,
the program review focused on the administration and oversight of Walden’s doctoral academic offerings, the
doctoral student academic experience, and the academic support of these programs. Walden’s practices related
to financial and business operations (e.g., financial aid, billing) were not a focus of the current review.




13
   For a complete description of the program review process, see Appendix A, Minnesota Doctoral Program Review Process.
14
   Of the complaints OHE received from the MNAG, fourteen (14) did not file a complaint with OHE or Walden. These
complaints were reviewed exclusively based on the narrative provided by the student on the MNAG form and any
supplemental information provided. All 14 complaints centered on delays at the dissertation stage (e.g., committee changes,
slow progress, inconsistent committee feedback, taking more courses than published minimum required). OHE was not
granted permission to share these complaints with Walden; OHE did not account for them in the analysis.
15 OHE did contact all students who filed complaints with the MNAG and had not yet filed a complaint with OHE; not all

students responded to OHE and/or submitted a complaint to OHE. OHE did share complaint information with Walden, for
those who elected to file a complaint with the office, as per standard process.

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1.5 Student Complaint Categories
From the data provided to OHE from Walden as part of the program review, OHE reviewed 983 distinct Walden
University doctoral student complaints over an eight year period (from September 2008 to September 2016).
Specifically, OHE received and reviewed 887 complaints from Walden that had been filed directly with the
institution (internal) and an additional 96 complaints filed with external agencies (external), such as OHE, the
federal government or the Minnesota Attorney General. Complaints, both internal and external, were reviewed
and categorized by the office. For categories, as defined by the office, see Appendix B, Categories of Complaints.

The office did not re-open and/or re-evaluate complaints as originally filed with the Agency, nor did OHE make
judgments based on the review and determinations already conducted by internal Walden offices and external
agencies. Because specific student experiences are nuanced and unique, results from the student complaint
review are not generalized to reflect the experiences of an entire student body.

The majority of complaints filed directly with Walden (referred to as internal complaints) were lodged with the
Office of Student Affairs, which has the responsibility to resolve student complaints and/or facilitate resolution
with the appropriate Walden department. Walden has noted that tuition waivers are an appropriate resolution
of legitimate concerns raised by students, whether the concerns are attributable to Walden or not. Reasons (if
noted on the internal complaint information provided by Walden to OHE) for waivers in response to internal
student complaints included delays in feedback from faculty, committee changes, ineffective committee
members, and overall capstone progress. 16

In only two cases (one was still pending at the time of the review) was a finding from an external agency cited. In
this case, the finding was that Walden failed to communicate timely academic warnings. Thirteen internal
complaints contained notations that the issues raised were resolved via a confidential settlement; nine of these
complaints were categorized as relating to the dissertation and/or delays with the capstone process.

Of the 983 total complaints, 502 related to non-academic issues (e.g., billing, financial aid) or were outside of the
program review’s scope (e.g., discrimination, grading as related to faculty judgment), and therefore, were not
included in the program review. The remaining 481 complaints related to academic issues, which can be broadly
organized into six groups: academic support, overall progress, institutional staff, KAM 17 courses, and the capstone
phase.

Approximately half of the academic complaints related to the capstone phase of the program (N=245), which are
the primary focus of this program review. Review of the other academic complaints (N=236) related, in general,
to a particular course, academic support units, a staff person, or KAMs.

The capstone phase of the program occurs when students are actively and exclusively working on their
dissertation or doctoral project. At this point, students have successfully completed all their required coursework

16 For broad categories of all tuition waivers provide to students for the timeframe of the current review, see Appendix C,
Tuition Waivers, for more information.
17 KAM stands for Knowledge Area Modules and relates to a type of program route. For more information on KAMs, see

Part Two, Chapter Two, Doctoral Curriculum. KAM designated as a separate category as

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and passed any other program requirements (e.g., comprehensive examination). Students in the capstone phase
must continuously register for dissertation or doctoral project/study courses and complete all steps and approvals
for their dissertation or final project/study to be approved. 18 This may mean students complete more than the
minimum capstone course requirement in order to meet Walden’s standards for a scholarly product. Capstone
courses are taken for credit and have the same associated tuition cost per credit as didactic courses. For a
complete overview of credits and capstone course requirements by specific programs, see Part Two, Chapter Two:
Walden’s Doctoral Curriculum, Table 10.

In OHE’s review of the capstone complaints, three predominant categories emerged:

                  1) Committee member roles and turnover,
                  2) Student progress and withdrawals, and
                  3) Advertising.

Students identified these issues as problematic, with each impacting their timely completion of the program, loss
of value or expectancy, and/or inability to complete the program. 19 Each of these categories will be explained
below.

1.5.1 Committee Member Roles and Turnover
Students who reach the capstone phase are assigned a committee (made up of three faculty members), which
provides guidance, feedback, and approval of their capstone work (e.g., dissertation or doctoral project). One
faculty member serves as the committee “chair,” another as a “second member,” while the University Research
Reviewer, the third member, ensures quality, rigor, and integrity of the work against university guidelines. 20 The
chair and second member serve as content and methodology experts (these functions can be shared or split
among members).

Up until recently, students were responsible for selecting and securing two faculty members to serve on their
dissertation committee. 21 Once committee members were approved, a student must progress through many
phases in order to complete their dissertation (see Appendix D, Capstone Process Flowchart and Appendix E,
Dissertation Process Worksheet), many of these approval steps require faculty committee approval before
advancing to the next phase.




18
   For a complete overview of the steps required to complete the capstone, see Appendix D, Capstone Process Flowchart. The
minimum number of capstone courses required depends on the program and ranges from 15 to 20 total credits, for currently
offered programs.
19 OHE is not validating these issues as problematic and is not assuming that complaints equate with institutional or

programmatic problems.
20 Walden URR Manual, June 2016, https://academicguides.waldenu.edu/ld.php?content id=15245643
21 According to Walden, committees were assigned to students by the program beginning in May 2017, with the goal to

have all doctoral programs assigning committees to students by the end of 2017.

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The first category that emerged from capstone complaints was related to concerns over the time it took to
advance to the next phase due to contradictory feedback from committee members and the significant amount
of faculty turnover on their committee, which could also result in contradictory feedback.

Committee Member Feedback
Those who complained often characterized committee member feedback as delayed, inconsistent, and/or
confusing. For instance, students noted issues with delays in receiving feedback (e.g., time from submitted
material to when feedback from committee received), mid-stream changes to the methods (e.g., rubrics or
assessments) of evaluating their work, disagreements among committee members, and inability to pass through
various stages, such as the University Research Review.

Students conveyed concerns when feedback from the committee was not provided in a timely manner, or was
inconsistent with the time published in Walden’s policies. Students rely on timely feedback from their committee
members in order to proceed expeditiously through the various stages of the capstone process.

Students also expressed confusion when committee members disagreed or, more commonly, feedback provided
by, and among members, was inconsistent from one draft to another. One student wrote, “my chair would have
me spinning wheels for several years without getting anywhere… she would have me go back to the same part
again even after she already approved it.” 22

Students also cited a lack of clarity of committee members’ roles and authority, often noting they had the “green
light” to move forward from committee chair only to have the proposal rejected by the research reviewer (URR).
For example, one student stated, “…my document has been submitted to the [URR] on three separate occasions
with conflicting results…the comments are inconsistent and indicative of not having reviewed prior statements
made on previous evaluations.” 23

Committee Turnover
When committee members changed, students noted this created additional delays as new members would
request changes to work previously approved. Specifically, students noted that it was not uncommon for new
committee members to request additional changes, leading to delays while they incorporated the new feedback.
One student, who was assigned a fourth chair within one year stated, “My progress in this program has slowed
due to the ….chairs [who] quit or refuse to work with students due to workload.” 24 Another, who was assigned a
total of four (4) chairs, noted, “…I have had a revolving door of committee members…,” and “I am running out of
finances to complete my education and feel that it is the fault of the University for not assigning me the proper
committee members to complete this process.” 25

Walden noted that changes in committee may be the result of: a student request, faculty departures from the
university, or faculty requesting the change. OHE requested the names of committee chairs, committee members,

22 Q04_001250
23 Q4_002609
24 Q4_002035
25 Q4_00317


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1.5.2 Student Progress and Withdrawals
The second category that emerged related to students who complained about their lack of progress and/or failure
to complete their program. This category refers to those students who withdrew, were administratively
withdrawn by Walden, or were nearing the possibility of withdrawal by Walden (based on policies on maximum
time limits to complete the degree). Students cited lack of progress as resulting from factors attributable to
Walden’s practices or faculty (e.g., faculty did not provide adequate or timely support); students rarely attributed
their lack of progress to their own abilities or life circumstances. Walden often cited lack of progress based on
student ability, life circumstances, failure to incorporate feedback, or sporadic attendance (e.g., taking a leave of
absence from the program). 29

Once students enter the capstone phase (upon completion of didactic coursework), they are continuously and
automatically registered for capstone courses, under the direction of their committee chair. During this phase,
students are working on the completion of their dissertation or doctoral project and there are two mechanisms
used in the evaluation of their work: capstone course grades and approval on capstone rubric assessments.

Capstone courses are graded (“pass” or “fail”) upon completion of each course, according to the expectations and
requirements as outlined in the syllabus. 30 In addition to requirements on the course syllabus, student must also
progress through the various approval stages and receive passing scores on assessments (e.g., rubrics) in order to
move forward. 31 Because progression is not based solely on completion of courses, students may complete more
than the minimum capstone course requirement in order to meet Walden’s standards. For example, the Doctor
of Business Administration Program minimum time to complete the required number of DDBA 9000 capstone
courses is 2.5 semesters, or 45 weeks (based on continuous enrollment and completion of two DDBA 9000 courses
per semester).

In student complaints, students made reference to their didactic course history (e.g., having received all A’s in
didactic courses) and ensuing frustration resulting from failure to pass through the capstone phase expeditiously
(e.g., not passing rubric assessments). Walden communicated to OHE that grades received in the didactic portion
of the program are not predictive nor indicative of success during the capstone phase. 32 Specifically, Walden
stated that “student’s grades for the didactic portion of the program are not an indication of successful
dissertation writing. All students enter the dissertation portion of the program with different writing abilities and
skills gap that are addressed during that process.” 33 As follows, it is possible that a student could receive all passing
grades for their didactic courses and then fail capstone courses.

According to Walden’s policy, students who receive two unsatisfactory grades are administratively withdrawn
from the University. For example, one student completed 25 dissertation courses and was administratively
withdrawn from the University for receiving two failing grades; the student noted, “…I just felt helpless… because

29 The purpose of the program review is not to determine which of the causes to a student delay or withdrawal is
attributable to the student, Walden, or both.
30 See Part 2, Chapter 2 for a complete description of capstone course requirements.
31 See Appendix D and E for a description of the stages of assessing the capstone work.
32 OHE is not making a conclusive statement whether this viewpoint or program design is appropriate.
33 Walden response to student complaint 6/28/2016, p.4


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I couldn’t make progress no matter how much I tried and begged for help. 34 Finally after five years of delays and
little to no help, I decided to request another chairperson for one last shot.” 35 This student also noted, “I feel that
dismissing me for two U grades is way too harsh, especially since I have been with the university since 2008 and
spent thousands of dollars to get this close to completion.” 36

Due to the costs resulting from prolonged capstone phase (each capstone course carries same tuition), 37 several
students made the decision to withdraw from their program after exhausting their federal financial aid eligibility
and thereby inhibiting their ability to finance their education.

1.5.3 Advertising
Advertised program length and cost was the final category as categorized from complaints related to Walden’s
capstone phase. Oftentimes students would cite they were “promised” or told that their program would take a
certain amount of time (e.g., informed the DBA program could be completed in three years) only to find out that
this was not their experience. For example, one student stated, “When I started this program…I was told [it] would
take three to four years to complete. Six years later, I am still attending the school with no clear direction or end
date and $75,000 in student loans.” 38 Another student wrote, “I was informed by the Walden University
enrollment counselor that the whole program would take three years, including only five 9000 courses. The same
information was presented to me by faculty during our first residency.” 39

Although students noted such promises, many were not able to provide supporting documentation as some of
the information was provided to them verbally. Documentation on time to completion or program requirements,
as submitted by students, included degree program plans or other “path to completion” documents, which stated
things like “generally plan” to take capstone courses a certain number of times. For specific program plan
information as reviewed by OHE, see Appendix F, Walden Recruitment and Advisement, Table A3, Program Guides.


1.6 Approach
In order to accomplish the goals as stated above (see Part One, Rationale), information provided from Walden to
OHE was examined based on the following objectives which are listed in Table 1, along with the corresponding
report chapter. These objectives were defined by the Minnesota Office of Higher Education as a means to guide
doctoral program reviews. 40




34 80 total dissertation credits; 41 credits over the minimum required
35
   Q04_001250
36 Q04_001260
37 Walden has instituted a new policy (effective summer 2017) in which students past their sixth year in their program may

be eligible for a 20% reduction in tuition.
38 Q04_003288
39   Q04_00531
40
     Minnesota Doctoral Programs Review Process, Appendix A.

Walden University Doctoral Program Review                                                                               13
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                 Table 1. MN Doctoral Program Review Objectives Aligned with Report Chapters

                        OBJECTIVE                                      REPORT CHAPTER
 1.    Increase OHE’s understanding of student           Student Complaints (Part One, Chapter 5)
       complaints filed internally at Walden
       University.
 2.    Increase OHE’s understanding of the doctoral      Student Complaints (Part One, Chapter 5)
       student complaint process between Walden
       University and the MN Attorney General’s
       Office and other state and federal agencies.
 3.    Increase OHE’s understanding of the total         Walden University Background: Enrollment (Part
       doctoral students enrolled in doctoral            Two, Chapter 1)
       programs at Walden University.
 4.    Increase OHE’s understanding of doctoral          Walden University Background: Retention (at
       student retention rates by examining year-by-     institutional level) (Part Two, Chapter 1)
       year doctoral student retention rates at the      Analysis of Select Walden Programs (at the
       institution and program levels.                   program level) (Part Two, Chapter 2)
 5.    Increase OHE’s understanding of doctoral          Walden University Background> Graduation (at
       student graduation rates by examining             institutional level) (Part Two, Chapter 1)
       institution and program level graduation          Analysis of Select Walden Programs (at the
       rates.                                            program level) (Part Two, Chapter 3)
 6.    Increase OHE’s understanding of curriculum        Walden University Doctoral Curriculum (Part Two,
       program and dissertation              handbook    Chapter 2)
       modifications for each doctoral program.
 7.    Increase OHE’s understanding of learning and      Walden University Advising and        Academic
       content management systems used for               Monitoring (Part Three, Chapter 1)
       doctoral programs.
 8.    Increase OHE’s understanding of faculty           Walden University Faculty> Committee Chairs
       mentor/chair to student ratios.                   (Part Two, Chapter 5)
 9.    Increase OHE’s understanding of doctoral          Walden University Faculty> Teaching Assignments
       program teaching loads.                           (Part Two, Chapter 4)
 10.   Increase OHE’s understanding of faculty           Walden University Faculty> Turnover (Part Two,
       turnover rates at the institution, program, and   Chapter 4)
       individual levels.

OHE informed Walden of the program review and made the initial request for information on September 16, 2016.
As information was reviewed by OHE, additional requests were made to Walden in order to provide the Agency
with greater clarity and context into the doctoral programs, and to validate claims made by Walden.

A summary of the information reviewed by OHE is presented in sections as outlined below. Each section is
intended to provide context and background related to the doctoral student experience and to ensure the
quality of programs, as referenced in the goal of the program review.


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Part Two: Walden Doctoral Programs: Information is presented in four chapters:

       •   Chapter one presents information on student enrollment, retention, and completion for doctoral
           students across all of Walden’s programs.
       •   Chapter two provides information about Walden’s doctoral curriculum, including courses required, the
           KAM (Knowledge Area Modules) modality, sequence of steps to gain an approved doctoral study or
           dissertation, changes to the doctoral curriculum, and methods of evaluating the doctoral study or
           dissertation.
       •   Chapter three provides in-depth student enrollment information specifically for the five (5) largest
           Walden doctoral programs. These programs were selected as they comprise a large percentage of the
           total doctoral student enrollment and the majority of student academic complaints originated from
           these programs.
       •   Chapter four provides information on Walden’s faculty who teach or supervise in doctoral programs.
           This includes information on doctoral faculty turnover, doctoral committee assignments, and faculty to
           student ratios.

Part Three: Walden’s Policies and Procedures: Information is presented on the policies, procedures, and systems
used in Walden’s doctoral programs. Chapters therein address policies and procedures related to committee
roles and responsibilities, student progress and withdrawals, and advertising.
Part Four: Conclusion and Recommendations: The report concludes with a summary of the policies and
procedures as related to the doctoral student complaints (i.e., grading polices, administrative monitoring,
program advertising, and timely and substantive feedback), as well as recommendations for Walden University.


1.7 Analysis
In order to provide OHE with necessary and sufficient context, and to meet the objectives of the program review,
background on Walden University will be presented in Part Two, Walden Doctoral Programs. This chapter includes
a review of Walden’s student enrollment, curriculum, and faculty, as per the objectives of the program review.
Due to limitations on national benchmarks and comparison schools, OHE is unable to fully analyze information
related to Walden’s students (including retention and completion) and faculty (including retention and workload
assignments). However, information provided offers necessary depth and breadth to understand complaints filed
by students in Walden’s doctoral programs.

Walden’s policies, practices, and procedures related to 1) committee member roles and responsibilities, 2)
student progress and withdrawals, and 3) advertising are presented in Part Three, Walden Policies and Procedures.
This section addresses the predominant categories that resulted from OHE’s review of student complaints which
pertained to the capstone phase of a doctoral program (completion of the dissertation or doctoral project/study).

Student complaints can be attributed to a variety of reasons. The aim of the review is not to make conclusive
statements that there is a definitive cause(s) to student complaints, given the nuances of the complaints and the
limits in the information provided to OHE. 41 Rather, the aim is to more fully understand the categories and


41
     For instance, complete complaint files and correspondence for internal complaints were neither requested nor provided.

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patterns based on student complaints, which may provide to Walden opportunities for continued improvement
and allow OHE to gain additional understanding and context, as well as establish benchmarking metrics in order
to better respond to future student complaints.




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Part Two: Walden’s Doctoral Programs
In order to meet the objectives of the program review, this section presents information related to Walden’s
doctoral programs including relevant information on Walden’s doctoral program offerings, the doctoral
curriculum, analysis of student data for five (5) of Walden’s programs, and Walden’s doctoral faculty.

When reviewing complaints, it is important for OHE to have context regarding the length of time a program has
been offered as well as the overall and program-level student enrollment. Having this information provides
background to analyze whether the complaints match the overall program student population or whether
complaints are confined to only a few programs. Understanding the number of students who are retained as well
as the number who complete the program is also relevant, given the complaints which centered on time to
completion and administrative withdrawals


2.1. Walden University: Background
Walden’s first doctoral program was offered in 1970. From 1989 through 2003, Walden’s doctoral offerings were
exclusively Ph.D. programs; as noted in Table 2, the Ed.D. (Doctor of Education) was first offered in 2004, and the
first professional doctorate, the DBA (Doctor of Business Administration) was first offered in 2008. All in all,
Walden offered fourteen (14) traditional doctoral programs and six (6) professional doctoral programs as of spring
2016. The first KAM-based program 42 was the Ph.D. in Management (1989). A course-based program was added
in 2009. In 2015, the teach-out of the KAM-based Ph.D. in Management program began. Walden reported that,
as of spring 2016, there were 271 students still active in the Ph.D. Management KAM program and 361 in the
Ph.D. in Education KAM program. The other KAM programs had less than 20 students remaining.

As illustrated in Figure 4, Walden’s doctoral programs most significant growth (for the time frame of the review)
occurred between 2013 and 2016, when doctoral offerings grew from eleven (11) to twenty (20).




42KAM stands for Knowledge Area Module and refers to a learning model which was used by Walden’s doctoral programs
and is based on a self-directed learning model that allowed students to develop specialized knowledge. This modality is
distinct from course-based models which have weekly requirements. See Part Two, Doctoral Curriculum: KAM modality for
more information.

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Total doctoral enrollment for years 2009 through 2016 is summarized in Table 4 (note: 2008 and 2017 are excluded
as data reported for these years was only partial data). The first table shows enrollment by specific programs and
the following chart, Figure 7, compares enrollments by calendar year, indicating Walden enrolled, on average,
5,300 doctoral students each year.

                  Table 4. Doctoral Student Enrollment by Program for Years 2009 through 2016

 Program                                         2009    2010    2011 2012       2013    2014    2015    2016
 Doctor of Education                             1711    1275    1220 1183       1106     785     937     731
 Doctor of Business Administration                871     759     916 1095       1150    1050    1179    1032
 PhD in Psychology                               1209     840     786  781        707     631     582     498
 PhD in Public Policy and Administration -
                                                  265     587     564     558     554     526     529     378
 KAM and Course Based
 PhD in Public Health                             432     413     414     407     384     278     352     302
 Doctor of Nursing Practice                                       218     353     401     480     503     385
 PhD in Management - KAM and Course
                                                          137     298     299     251     308     351     262
 Based
 PhD in Human Services - KAM and Course
                                                          158     343     281     235     239     275     294
 Based
 PhD in Education - KAM and Course Based          512     355     171     170     115      87      77
 PhD in Health Services - Course Based                     50     172     203     185     163     171      87
 PhD in Criminal Justice                                                                  135     286     267
 PhD in Counselor Education and Supervision         22    198     169      76      48      72      94      56
 Doctor of Public Health                                                                  140     232     182
 Doctor of Information Technology                                                  31     133     146     156
 Doctor of Social Work                                                             32     106     142     147
 PhD in Nursing                                                                           116     170     126
 PhD in Industrial/Organizational Psychology              <10        9     11      16      22     133     158
 Doctor of Healthcare Administration                                                              106     187
 PhD in Social Work                                                                22      74      82      65
 PhD in Health Education and Promotion                                                             24      70
 PhD in Forensic Psychology                                                                                33
 Doctor of Public Administration                                                                           47
 PhD in Clinical Psychology                                                                                24
 PhD in Developmental Psychology                                                                           15




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As noted in the table above, the number of students retained at year one has decreased over time; 72% retention
rate for students in cohort 2008-2009 versus 64% for students in cohort 2014-2015.

Retention data by academic program is presented in Table 6, showing the average number of students who are
retained at years one and three.

          Table 6. Average Retention Rate of Doctoral Students at Year One, Year three, By Program 56

      PROGRAM (Years Included)                                               COHORT         AVE 1 YR      AVE 3 YR
      Doctor of Business Administration (08-13)                              3497           69%           44%
      Doctor of Education (08-13)                                            596            59%           48%
      Ph.D. in Counselor Education and Supervision (09-13)                   425            47%           36%
      Ph.D. in Education - KAM ONLY (08-13)                                  1295           54%           34%
      Ph.D. in Health Services - KAM ONLY (08-12)                            46             66%           45%
      Ph.D. in Human Services - KAM ONLY (08-12)                             425            56%           35%
      Ph.D. in Management - KAM ONLY (08-12)                                 791            64%           42%
      Ph.D. in Psychology (08-12)                                            3963           65%           40%
      Ph.D. in Public Health (08-12)                                         1708           69%           49%
      Ph.D. in Public Policy and Administration - KAM ONLY (08-11)           404            61%           47%
      Ph.D. in Public Policy and Administration - COURSE BASED
      ONLY (09-12)                                                           1868           69%           47%

      Average                                                                               62%           42%
      Standard Deviation                                                                    7%            5%


2.1.3 Graduation and Completion
The following section provides information on graduation rates and time to completion at the institutional level.
Graduation rates, as defined by Walden, only includes those students who completed at least one year of their
program, and includes the percentage from this group who went on to complete their program. 57 Time to degree
completion (“completion rates”) is defined by OHE to include the time (in months and/or years) it takes for
students to complete the program, and does not exclude any students. The scope of the data for current review
includes Walden students who were admitted and graduated between fall 2008 and fall 2017. 58




56
   Source: Walden; includes only those programs within retention data available over the span of four years.
57
   Walden noted that there are no universally agreed-upon definitions of retention and graduation rates in higher
education. Walden noted it utilizes guidance from professional accreditor, CCNE which advises programs to develop metrics
that do not count attrition caused by non-curricular factors such as family and work obligations. 7/21/2017 Walden letter to
OHE.
58 Includes students with admission data of 2008 through 2016 and who completed by fall 2017. Data provided by Walden

did include students who were admitted prior to 2008 and who graduated between fall 2008 and fall 2017. Therefore,
analysis of results is limited to those who completed their program within eight (8) years.

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     Table 8. Number and Percentage Students Completing by Minimum Time, Published Program Length

     Program                   Number of Minimum                    Students         Published             Percent
                               Students   Time To                   Completing       Program Length        Students
                               Completing Completion                By               (GE Disclosures)      Completing
                                                                    Minimum                                By Program
                                                                    Time                                   Length Time
     DBA                       733              3.3 years           32%              4.7 years             70%
     Ed.D.                     938              2.75 years          12%              4.7 years             48%
     Ph.D. Psychology 67       391              3.25; 5 years       n/a              5.5; 7.1 years        n/a 68
     Ph.D. Management          116              3.75 years          25%              6 years               78%
     (KAM)
     Ph.D. Management          74               3 years             15%              4.8 years             50%
     (COURSE)

The following (Table 9) summarizes gainful employment disclosures, as provided by Walden. 69 This represents
completion time for those students who completed the program in 2014-2015. On these disclosure pages, it reads:
“how long will it take me to complete this program” and the response begins with “the program is designed to
take X months to complete.”

                                       Table 9. Gainful Employment Disclosures70

     Program                          Program Designed Time               Of Those That Complete (In 2014-15),
                                                                          Percentage Who Do So Within This
                                                                          Program Designed Time
     Ph.D. Management 71              4.8 (58 months)                     24%
     Ph.D. in Psychology              5.5 (66 months)                     21%
     DBA                              4.1 years (50 months)               52%

In addition to completion and retention rates, Walden provided national comparison data from a variety of
sources. Having an understanding of comparable or peer institution completion data is important; however,
Walden has noted there are no good comparisons because other online doctoral programs that educate non-
traditional, working professional students do not publish their retention and graduation rates. 72




67
   Unable to calculate completion rates by track for the Ph.D. in Psychology, as raw data sets provided did not identify students
by track
68 Of those who completed in 2014-2015, 24% did so within 5.5 years
69 Q17_003415; Q17_003423; Q17_003441
70 Language such as “program designed time” in the headers of this table is based on information as provided by Walden.
71 KAM and/or course-based not specified
72 Letter from Walden to OHE 10/2/2017


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OHE does not know Walden’s internally-defined goals or benchmarks related to completion rates. As such, OHE is
unable to provide any statements regarding completion rates as meeting, exceeding, or failing to meet Walden’s
benchmarks or goals. 73

2.1.4 Comparison Schools
Walden supplied national comparison data for doctoral graduation rates to the office. 74 This included a 2008
Council of Graduate Schools report based on cohorts entering between 1992 and 1998. Across disciplines, the
results were: 11% complete in four years; 45% complete in seven years; 57% complete in 10 years. Another report
published in 2008-2009 that included graduation rates from 62 AAU (Association of American Universities)
member institutions, found that 42% of doctoral students completed within nine years (for those with a master’s
degree) and 27% completed within nine years (for those without a master’s degree). Walden also cited UNC
Charlotte’s graduation rates for Ph.D. students entering between 2003 and 2008 with the average five year
completion rate at 35%. OHE does not know what metrics were used in the calculation of these rates (e.g., whether
only students retained past a certain point in their program are included or whether all students admitted are
included in the rates).

The National Center for Education Statistics administers the Integrated Postsecondary Education Data System,
commonly referred to as IPEDS. Data published by IPEDS may be used by institutions for interpreting institutional
data related to enrollment, retention and graduation rates, and tuition, to name a few. According to information
published publicly via the IPEDS data feedback report (2016), 75 Walden has chosen a comparison group of nine
(9) institutions: American Public University System, Capella University, Colorado Technical University-Online,
Kaplan University- Davenport Campus, Nova Southeastern University, Troy University, University of Maryland-
University College, University of Minnesota-Twin Cities, and Western Governor’s University. A review of these
institutions’ web pages revealed that three of them provided information (or had information published that was
readily located) about their doctoral program(s) completion/graduation rates. The following is a summary of
information published: 76

     •   Capella University: Institutional graduation rate is 42% 77 (additional graduation rates are published by
         specialization; e.g., DBA in Leadership 12% complete within 45 months)




73
   OHE asked Walden for any internally-defined goals or benchmarks used to evaluate program outcomes. For instance,
Walden was asked to provide program review summary statements for select programs because program reviews often
contain retention and completion goals, and other key performance indicators (see Part Three, Accreditation and Program
Evaluation for more information). OHE does not know Walden’s internally-defined goals or benchmarks related to
completion rates. As such, the Agency is unable to provide any statements regarding completion rates (meeting, exceeding,
or failing) to meet Walden’s benchmarks.
74 This information was provided by Walden to OHE
75 https://nces.ed.gov/ipeds/DataCenter/DfrFiles/IPEDSDFR2016 125231.pdf
76 Disclosures not located for American Public University, Colorado Technical University, Nova Southeastern University
77 https://www.capella.edu/content/dam/capella/PDF/Consumer Information.pdf;

https://www.capellaresults.com/content/dam/vc/capella-results/gainful-
employment/business/doctoral/DBA Leadership gedt.html

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       •   University of Maryland-University College: Six year doctoral graduation rate is 57.1% 78

       •   University of Minnesota-Twin Cities: Most current six year doctoral graduation rate is 48% 79

Comparison school data is often used in contextualizing or benchmarking completion rates for doctoral programs.
Comparison schools as listed in the iPEDS report are one source; however, each of these institutions varies in
student demographics, program delivery, and program offerings. Furthermore, the metrics used by these
comparison institutions are unknown, so OHE is not making comparisons with these institutions to Walden.




78
     https://www.umuc.edu/documents/upload/student-profile-and-graduation-rates.pdf
79
     http://www.academic.umn.edu/accountability/pdf/2015/2015 Accountability Report.pdf

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2.2 Walden University: Doctoral Curriculum
OHE reviewed information related to Walden’s doctoral curriculum 80 , in accordance with one of the objectives of
the program review. This objective was to increase OHE’s understanding of curriculum program and dissertation
handbook modifications for each doctoral program. Due to the concentration of academic complaints focused on
the capstone phase of the program, this section focuses on the requirements for the completion of the capstone
product which could be the dissertation or doctoral project/study, depending on the program. Information for
students in KAM (Knowledge Area Modules) doctoral programs is also provided throughout the section, given the
distinct requirements for this program.

Courses and requirements for degree completion (also referred to as curriculum) for the Walden doctoral
programs can be found on the program web pages and within program catalogs. 81 These sources describe the
minimum program courses and corresponding credits needed for degree completion. The credits required for the
completion of the degree are also listed on Walden’s program web pages (see Part Three: Advertising for more
information on web-based materials).

As an introduction, the program length and credits required for Walden’s doctoral program offerings are shown
in Table 10. Programs are either semester- or quarter-based; semesters are fifteen (15) weeks in length (includes
fall, spring, and summer) while quarters are ten (10) weeks in length (includes fall, winter, spring, and summer).
Minimum credits for doctoral programs are 30 semester -or 45 quarter credits- beyond the master’s degree and
excludes credits taken for independent research requirements (e.g., dissertation); 60 semester credits are
required for doctoral programs which only require a bachelor’s degree for admission. All of Walden’s doctoral
programs are on the quarter system, with the exception of the DBA program that is based on semesters.

As shown in Table 10, total capstone credits refers to the minimum number of dissertation or doctoral project
credits required for the degree that are distributed among several courses (e.g., DBA program requires a minimum
of five terms, two eight-week terms per semester and three credits per course). Most programs have a 20-credit
minimum for capstone work (with the exception of the DBA and DIT). Students in KAM-based programs are
required to complete a minimum of 30 credits of dissertation which are posted to their transcript upon completion
of degree, and during the dissertation phase, students are continuously enrolled in a 6-credit Research Forum
course in addition to a Dissertation Course. The completion of the minimum dissertation credits does not mean
the degree is conferred, rather, students must progress through a series of milestones and produce a scholarly
product that meets Walden’s criteria. According to Walden, the time students take to progress through these
milestones varies, and is dependent upon factors such as academic skill, time and dedication to studies, career
demands, and willingness to adhere to faculty directives.




80 Curricular modifications by program; Handbook modifications; Dissertation rubric modifications; Knowledge Area Module
(KAM) explanation; Syllabi for capstone courses; Writing Assessments and Curricula; Walden University Catalogs (2008-2017)
81 http://catalog.waldenu.edu/


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process) to serve as a quality assurance mechanism for the capstone research and to provide feedback to students
at earlier points in the process, including the proposal and final study stages. Further, there is a reference
document, “University Research Review Manual” 94 , which provides guidance on the URR role, desired practices,
and duties of committee members for each step in the process.

As students move through the stages to complete their dissertation, there are many instances in which submitted
work may be rejected for further revisions and/or corrections. This return/revision process can occur at the level
of committee members, the URR, the Institutional Review Board (IRB), and with the Chief Academic Officer.
According to published materials, committee members and other reviewers are to submit corrections and
feedback to students within 14 days of submission. As seen in the flowchart diagram, scores of “not met” will
revert the work back to the student for revisions and/or refer the student to the appropriate Walden support
department (e.g., writing center, IRB).

Submission of student work and faculty assessments are completed within Walden’s web-based system called
MyDR. Prior to the implementation of MyDR in 2014, students would submit materials to faculty via email.
Committee members utilize rubrics and checklists (including the Dissertation Checklist, Minimum Standards
Rubric, and the Overall Quality Rubric) to evaluate student work at various stages within the capstone phase.
These evaluation tools were created and/or revised as a result of studies from an external evaluation firm, and
the tools were first introduced and/or revised in 2012.

The Center for Research Quality’s website houses resources and information related to the doctoral capstone. 95
This includes workshop information, research resources, and the capstone process and timeline. 96 The timeline
offered lists courses for years 1-2, premise and prospectus for years 3-4, and research, analysis and iterative
writing for years 4-7. It notes that the average time to complete a dissertation is two to three years, after all
coursework is completed and one to two years after coursework to complete a doctoral study or doctoral
project. 97

2.2.2 Capstone Syllabi
Walden syllabi include the activities required to receive a grade of satisfactory (S) or unsatisfactory (U) for a
capstone course. 98 A summary of activities related to assessment of dissertation progress, included in capstone
course syllabi, is noted in Table 11. Courses are listed more than once if there were changes to the manner in
which student progress on capstone work was evaluated. As shown in this table, beginning in 2015, syllabi reflect
the institutional policy that faculty judge capstone work, based on substantive and documented progress. This
information is important to understand for reviewing complaints which relate to unsatisfactory grades, or for
dismissal based on unsatisfactory grades. OHE can request and/or review available syllabi and quarterly plans as


94
   http://academicguides.waldenu.edu/ld.php?content id=15245643
95 http://academicguides.waldenu.edu/doctoralcapstoneresources
96https://web.archive.org/web/20171012091639/http://academicguides.waldenu.edu:80/doctoralcapstoneresources/timel

ine (note timeline no longer includes years for each stage, as of 8/16/2018).
97 Under each timeframe it notes: Time to completion varies by student, depending on individual progress and transfer

credits, if applicable.
98 University-wide guidelines for grading capstone courses went into effect August, 2015.


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a means to guide a complaint investigation. In all but one program (DNP), a quarterly plan is required to be
submitted by the student.

                      Table 11. Requirements for Assessing Capstone Work, As Indicated on Syllabi

        COURSE (Years, if              REQUIREMENTS (as related to                        PLAN REQUIRED
           known)                       demonstration of progress)
      ISPY/PSYC 9000            Submission of quarterly plan (20%) and          Yes; submitted at the beginning and
                                progress activities (80%) including             end of the course.
                                submission of drafts every term and
                                positive evaluations on checklists/rubrics.
      MGMT 7101/9000            Complete all assignments in a timely            Yes; submitted three times per
                                manner; actively participate and post           quarter.
                                thoughtful responses in online discussions;
                                complete all written assignments
                                satisfactorily; submit at least two drafts of
                                proposals, dissertations as appropriate or
                                KAM component. 99
      EDUC                Planning activities (20%) and progress                Yes, submission of a plan within first
      8800/8900/9001/9002 activities (80%); Submission of plan,                 7 days.
                          participation in discussions, submission of
                          final report; documented progress
                          towards one or more goals: draft
                          submissions, activities that support
                          completion, completion of coursework,
                          residency attendance. 100
      DDBA 8100                 “S” received if making satisfactory             Submission of a plan within first 7
                                progress on Study; evaluated on plan and        days of course; Submission of
      (2012)
                                recent work at end of semester.                 revised work since previous term.
      DDBA 8100 101             Discussions (35%) and applications (65%);       Yes, submission of a project plan
                                at the end of the semester students must        within first 7 days of the course.
      (2013-2016)
                                submit their most recent work toward the
                                Doctoral Study.
      DDBA 9000                 “S” received if making satisfactory             Yes, submission of a plan within first
                                progress on Study; evaluated on plan and        7 days.
      (2012)
                                final report at end of semester.
      DDBA 9000                 Discussions (35%) and applications (65%);       Yes, submission of a plan within first
                                “S” received if making satisfactory             7 days.
      (2013)



99 Feedback will be given within two (2) weeks.
100
    Attending only a residency is not sufficient for a grade of “S”
101 2013, 2014, 2015, 2016


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        COURSE (Years, if                REQUIREMENTS (as related to                       PLAN REQUIRED
           known)                         demonstration of progress)
                                   progress on Study; evaluated on plan and
                                   final report at end of semester.
      DDBA 9000                    Discussions (35%) and applications (65%);     Yes, submission of a plan within first
      (2014)                       “S” received if making satisfactory           7 days; submission of update in
                                   progress on Study; evaluated on plan and      weeks 2 and 6.
                                   final report at end of semester.
                                   Documented progress, substantive drafts.
      DDBA 9000                    Discussions (35%) and applications (65%);     Yes, submission of a plan within first
      (2015)                       “S” received if making satisfactory           7 days; submission of update in
                                   progress on Study; evaluated on plan and      weeks 2 and 5.
                                   final report at end of semester.
                                   Documented progress, substantive drafts.
      SBSF 7100                    Submission of plan, participation in          Yes, within first 7 days; submission
                                   discussions, submission of final report;      of final report documenting
      (Fall 2013, Winter
                                   documented progress towards one or            progress at the end of quarter.
      2013, Fall 2014, Spring
                                   more goals: draft submissions, activities
      2014, Summer 2014,
                                   that support completion, completion of
      Winter 2014; Spring
                                   coursework, residency attendance; 102
      2015; Summer 2015)
                                   Submission of drafts of some component
                                   for every quarter enrolled.
      SBSF 7100                    Based on five required assignments each       Yes, within first 7 days; submission
                                   quarter: quarter plan, discussion 1 and 2,    of final report by week 12.
      (Spring 2013, Summer
                                   final report, demonstrated sufficient
      2013)
                                   academic progress by completing a course,
                                   or part of a KAM or part of the
                                   dissertation.
      SBSF 7100                    Planning activities (20%) and progress        Yes; submitted within first 7 days of
                                   activities (80%); Submission of plan,         the course.
      (Fall 2015, Winter
                                   participation in discussions, submission of
      2015, Fall 2016, Spring
                                   final report; documented progress
      2016, Summer 2016,
                                   towards one or more goals: draft
      Winter 2016, Fall
                                   submissions, activities that support
      2017, Spring 2017,
                                   completion, completion of coursework,
      Summer 2017)
                                   residency attendance 103 ;
      NURS 8700                    Planning activities (20%) and progress        Yes; submitted within first 7 days of
                                   activities (80%); students should expect to   the course.
                                   be submitting drafts of some component



102
      Attending only a residency is not sufficient for a grade of “S”
103
      Attending only a residency is not sufficient for a grade of “S”

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         COURSE (Years, if            REQUIREMENTS (as related to                      PLAN REQUIRED
            known)                     demonstration of progress)
      (2016-2017 104 )         during every term they are enrolled in
                               8700/8701.
      NURS 8700                Grades are based on the successful            No; students must show sufficient
      (2012-2015 105 )         completion of the required assignments        academic progress for the quarter
                               each quarter: Approved DNP project            by completing a course and/or part
                               documents, discussion 1 and discussion 2.     of the DNP project.
      NURS 8701                Grades are based on the successful            No; students must show sufficient
      (2013-2014 106 )         completion of the required assignments        academic progress for the quarter
                               each quarter: Approved DNP project            by completing a course and/or part
                               documents, discussion 1 and discussion 2.     of the DNP project.
      NURS 8701                Planning activities (20%) and progress        Yes; submitted within first 7 days of
                               activities (80%); students should expect to   the course.
      (2015-2017 107 )
                               be submitting drafts of some component
                               during every term they are enrolled in
                               8700/8701.
      NURS 9000                Graded each week based on discussion          Yes; submitted within first week of
                               posts and overall progress with               the course
      (2016 108 )
                               dissertation. Assignment points are based
                               on weekly refection, discussion (80%) and
                               quarter plan (20%)
      NURS 9000                Planning activities (20%) and progress        Yes; submitted within first 7 days of
                               activities (80%); Documented progress         the course.
      (2017-2018 109 )
                               towards products and work outlined in the
                               quarter plan.



2.2.3 KAM Modality
As part of the program review information request, OHE asked Walden for a description of KAMs (see Appendix
A, Letter of Request to Walden). Knowledge Area Modules (KAMs) are a learning modality incorporated into the
curriculum for five of Walden’s Ph.D. programs 110 and allow for students to self-direct their learning process via
research, writing, and other learning activities. Walden noted that this “self-driven model” allowed students with




104
    Spring 2016; Summer 2016; Fall 2016; Spring 2017; Summer 2017; Spring 2018
105 Summer 2012; Spring 2014; Spring 2015
106 Spring 2013; Spring 2014
107 Spring 2015, Spring 2017, Summer 2017
108 Summer 2016; Fall 2016
109 Summer 2017; Spring 2018
110 Management, Human Services, Health Services, Education, and Public Policy


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effective time management skills to progress at their own pace, while others struggled to adequately complete
the requirements in an efficient manner. 111

According to Walden, the KAM modality was a very research-intensive doctoral program with rigorous and
challenging requirements. The KAM modality is a self-directed, research-intense process whereby students
complete up to seven comprehensive papers 112 prior to beginning their dissertation. The KAM-based programs
were discontinued between 2011 and 2015. Students in KAM programs are continuously enrolled in SBSF 7100
(6cr.) or EDUC 8800 for the duration of their program, including those quarters they are working on their capstone.
Additional capstone courses and/or doctoral companion courses may also be required for students, depending on
program and route. 113

Requirements for KAM-based programs include Core KAMS and Specialized KAMs, comprehensive papers which
are produced for each KAM. The work is based on the required Learning Agreement (LA) that serves as the contract
between the student and the KAM assessor. A continuous enrollment model is used for KAM programs, meaning
students are continuously enrolled in SBSF 7100 or EDUC 8800 each semester and advance through the KAM
process at their own pace.

As noted in the introduction section, Walden has discontinued offering Ph.D. programs via the KAM modality, with
the first discontinuation occurring in winter 2011 and the final in summer 2014; the course-based modality was
introduced for these programs between 2009 and 2010.


2.2.4 Curricular Changes
Changes to the program curriculum occur through a process, as described in written correspondence to OHE from
Walden. Walden has developed processes and designated roles in the development of new programs and
specializations; all policies and curriculum are approved through faculty governance. Each Walden school has a
Curriculum and Academic Policy (CAP) committee made up of core and contributing faculty. This committee has
the responsibility for curriculum development and revision, as well as policy oversight relevant to programs. As a
means for ongoing monitoring, Walden provides monthly updates to OHE regarding any curricular changes (this
includes all Walden programs, not exclusively doctoral programs).

Curricular modifications and changes included a revision to course SBSF 7100, Research Forum, which occurred
between May 2009 and March 2010 (see Table 12). This revision included a change from broad learning outcomes
(e.g., development of skills) to actionable outcomes (e.g., submit drafts, submit personal progress reports). The
purpose of this change was to promote more “active engagement” in the SBSF 7100 course. In this course,
students were responsible for submitting drafts of their KAMs or dissertation chapters.




111 Walden letter to OHE, 10/28/2016.
112 Up to seven (7) total papers, depending on the program. Typical paper length is 90-120 pages.
113 See progress grading in Walden’s catalog for a listing of capstone courses:

https://catalog.waldenu.edu/content.php?catoid=137&navoid=42861

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                                Table 12. Summary of Research Course Modifications

     DATE             CHANGE                                                RATIONALE
     5/2009-          Change in research sequence requirements to require   Resulting from HLC guidance,
     3/2010           the same research course sequence for all Ph.D.       essential learning outcomes
                      programs. Prior to this change, the Ph.D. programs    were crafted to ensure
                      varied in the research sequence requirements,         students met minimum
                      including whether the course was a specific method    research competencies prior
                      course to the program or a university-wide course.    to graduation.
     5/2009-          SBSF 8005 and SBSF 7100 revised.                      To incorporate more active
     3/2010                                                                 engagement in SBSF 7100
     11/16/2015       Unknown specifics.                                    Updates to university research
                                                                            courses including a “variety of
                                                                            changes” (unknown specifics).

A catalog review of SBSF 7100 courses was conducted in order to gather more information on the nature of
curricular changes (referenced above) during the timeframe of May 2009 through March 2010 (see Table 13). No
course description for SBSF 7100 was located in the 3/2010 and 6/2010 versions of the 2009-2010 Catalog and
the 2010-2011 Walden University Catalog.

                            Table 13. Course descriptions for SBSF 7100, Research Forum

     2008-2009 Catalog Under the guidance of their faculty member, students pursue scholarly research
     Description       associated with Knowledge Area Modules (KAMs). They learn to work
                       independently as scholars and develop a variety of skills. For example, they learn
                       to gather information such as research findings and theories from library
                       databases and web-based resources. They develop critical-thinking skills, learn
                       to ask the right questions, and apply their newly acquired knowledge to real-
                       world problems for the benefit of others.
     2009-2010 Catalog The purpose of this forum is to assist students with making steady progress
     Description       toward earning a Doctor of Philosophy degree. Students will prepare a plan of
                       action, engage in regularly scholarly discussion with a faculty mentor and fellow
                       doctoral students, and submit a personal progress report. Students will submit
                       drafts of Learning Agreements, Knowledge Area Modules (KAMs), and
                       dissertations to the faculty mentor for feedback. Information and resources
                       related to KAMs, dissertations, residencies, research and writing, and doctoral
                       program expectations are provided for guidance.


Curricular modifications by program, relevant to dissertation courses, is a result from program reviews. Table 14
highlights relevant curricular modifications for the Doctor of Business Administration (60 credit) program.




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                                          Table 14. DBA Curricular Modifications

        DATE            CHANGE                                                       RATIONALE
        4/24/2013       Three new courses in first year; change to program of        +50% DBA students skip from
                        study; reduction in allowable transfer credits from 5        1st to 7th course; with change
                        courses to 4 courses.                                        +50% skip from 2nd course to
                                                                                     7th with courses 1, 2, and 7
                                                                                     being revised.
        6/25/2015       Program revisions resulting from program review;             Aim to improve first year
                        three course updates; DDBA 8100 from 0 cr. each to 1         student progress; to improve
                        cr. Remains 60 cr. Program                                   graduation rate and referral
                                                                                     rates.
        12/16/2015 Learning outcomes revision                                        Improve crafting business
                                                                                     problem statements and
                                                                                     emphasize move to
                                                                                     independent scholar.

Table 15 summarizes curricular modifications for the Ph.D. in Management program. The decision to stop offering
KAM-based programs resulted, in part, from students who struggled with the lack of structure and direction
offered with these programs. Additionally, Walden utilized student time to completion data 114 as a rationale for
the decision to discontinue these offerings.

                                  Table 15. Ph.D. Management Curricular Modifications

        DATE       CHANGE                                                            RATIONALE
        12/16/2009 Introduction of course-based modality; change of                  As an alternative to KAM-
                   program name from Ph.D. in Applied Management                     program model to meet
                   and Decision Sciences (AMDS); updated learning                    desired learning style.
                   outcomes.
        2/15/2012 Mixed-model teach out                                              Enrollments in this model
                                                                                     declined once course-based
                                                                                     model was launched.
        11/20/2013 Four new courses in year one; research course moved               Improve first year students
                   from 3rd to 5th in sequence.                                      chances of success
        5/28/2014 KAM-program teach out                                              Change to course-based
                                                                                     inspired by students who
                                                                                     struggle with lack of structure
                                                                                     and direction, presence of DBA
                                                                                     as entirely course-based.
        4/22/2015       Change to allow students to take 2 courses at a time;        Allow for greater flexibility for
                        course sequence changes                                      students to accelerate their
                                                                                     program with possible reduced
                                                                                     time to completion.




114
      Data utilized for this decision was requested by OHE; Walden declined to provide such information.

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Table 16 includes a general summary of changes that are related to the progression of the dissertation/doctoral
study sequence. The changes shown below do not include curricular changes unrelated to the dissertation or
capstone.

                                    Table 16. Capstone Course Curricular Changes

        DATE          PROGRAM                            CHANGE
        9/24/2008     Ed.D. (teacher leadership;         Updated content to improve student progress and
                      administrator for teaching and     doctoral study project readiness/completion.
                      learning)                          Embedded research into content courses to better
                                                         prepare for project.
        7/30/2014     Doctor of Public Health            Total of 20 research credits and cross-list companion
                                                         course for seamless transition through research
                                                         phases. Assigned a chair earlier in the process.
        3/25/2015     Doctor of Information              Adding two sections of ITEC 8100, providing 16
                      Technology                         additional weeks to work with mentor; improve
                                                         time to completion.
        5/27/2015     Ed.D.                              Foundations course will be integrated and used by
                                                         all College doctoral students; improve retention and
                                                         time to completion through intensive support
                                                         courses offered with first research course and fifth
                                                         specialization course.
        5/25/2016     Ph.D. in Psychology                Addition of literature review writing lab to better
                                                         prepare students for doctoral sequence.
        5/25/2016     Ph.D. in Education                 Course EDPD8900 changes from “completing the
                                                         prospectus” to “writing a quality prospectus” as it is
                                                         not expected that the prospectus is complete to
                                                         pass this course.




2.2.5 Dissertation Handbook Modifications
Walden’s Office of Student Research Administration’s (OSRA) website 115 contains requirements and resources by
academic program. It is the OSRA’s function to coordinate the capstone process for students and committees. The
following table relates programs to guidebooks, and includes year of inception and subsequent revisions, as
revisions occurred. This resource (Table 17) will assist OHE in reviewing student complaints because these
guidebooks contain specific policies and procedures expected of students and faculty during the capstone phase.




115
      http://academicguides.waldenu.edu/researchcenter/osra

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2.3.1 Doctor of Business Administration
A total of 9,015 students began Walden’s Doctor of Business Administration (DBA) program between fall 2008 and
fall 2017. 127 Approximately 62% of students (N=5,662) withdrew -or were withdrawn- by Walden prior to
completing their program, and the majority of these students withdrew -or were withdrawn- prior to reaching the
first year (N=3,487, 61% of all who withdrew; See Figure 10). In other words, 39% of DBA students do not progress
past the first year. Data provided did not differentiate those students who were administratively withdrawn by
Walden from those who withdrew on their own.

                                       Figure 10. Withdrawn DBA Students by Years of Program Completed


                                4000
                                        3487
                                3500
                                3000
           Withdrawn Students




                                2500
                                2000
                                1500
                                                 902
                                1000
                                                         456     358
                                 500                                        238          127   68   20   <10
                                   0
                                          0       1       2       3          4            5    6    7     8
                                                                       Years Completed



Since fall 2008, a total of 733 students have completed Walden’s DBA program. 128 Of those who completed the
program, 70% (N=515) do so within 56 months, which is the published time to completion. 129 Minimum published
program length is 40 months, or 3.3 years and 32% (N=235) of graduates complete within this time. See Figure 11
and Figure 12 for length of time in years and months, respectively, for students who have completed the DBA
program since fall 2008. 130




127
    Source: Walden, Doctoral Students First Enrolled Fall 2008 – Fall 2017 FINAL.xlsx. Note: Only those who entered and
remained in the DBA program are used in this calculation; this excludes those with status of: transfers and re-
enrolled/graduated /still enrolled and /withdrawn. This source is used for all enrollment data presented.
128 Those students admitted after fall 2008, as of fall 2017. Please note that students who were admitted prior to fall 2008

and completed their program between 2008-fall 2017 would not be included in this calculation. Therefore, students who took
longer than eight (8) years to complete the program would not be included, as the data provided only included those admitted
fall 2008 (and beyond) and who graduated by fall 2017.
129 http://programdata.waldenu.edu/Doctor-BusAdmin/doctor-of-business-administration.html
130 Total years complete; the lower of the two whole numbers would represent those who complete between two whole

numbers. For example, those who complete in 3 years, 11 months, would be captured in the three-year category.

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                              Figure 25. Withdrawn Ph.D. in Public Policy Students by Year of Program Completed


                            2000   1880
       Withdrawn Students


                            1800
                            1600
                            1400
                            1200
                            1000
                             800
                             600            436
                             400                     211      187        130
                             200                                                      88   38     25      >10
                               0
                                     0        1       2        3          4           5    6      7        8
                                                                    Years Completed


Since fall of 2008, a total of 318 students have completed the Ph.D. in Public Policy program. There are differing
program lengths depending on modality (KAM) and track (course-based; related to type of master’s degree held).
Published program length for KAM students is six years, for track one (course-based) 6.1 years, and for track two
(course-based) 4.7 years. Data provided does not distinguish graduated students by track one or track two. Of
KAM students who completed (N=65), the majority (86%) complete the program in six years or less. The next
charts show length of time in years (Figure 26) and months (Figure 27) for students who have completed the Ph.D.
in Public Policy program since fall 2008. 147




  Total years complete; the lower of the two whole numbers would represent those who complete between two whole
147

numbers. For example, those who complete in 3 years, 11 months, would be captured in the three-year category.

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2.3.5 Ph.D. in Management
A total of 3,159 students began Walden’s Ph.D. in Management program between fall 2008 and fall 2017. 150
Approximately 65% of students (N= 2,040) withdrew -or were withdrawn- by Walden prior to completing their
program, and the majority of these students withdrew -or were withdrawn- prior to reaching the first year
(N=1,314 or 64% of those who withdrew/were withdrawn; See Figure 31 below). In other words, 42% of the
students who began the Ph.D. in Psychology program did not progress past year one from date of admission. 151
Data provided did not differentiate those students who were administratively withdrawn by Walden from those
who withdrew on their own.

                             Figure 31. Withdrawn Ph.D. in Management Students by Years of Program Complete


                            1400    1314

                            1200
                            1000
       Withdrawn Students




                             800
                             600
                             400             295
                                                     155      118
                             200                                          65          53                >10
                                                                                           23   15
                               0
                                     0        1       2        3          4           5    6     7       8
                                                                    Years Completed

Since fall 2008, a total of 190 students completed Walden’s Ph.D. in Management program. 152 Of those who
completed the program, 65% (N=123) do so within three and five years (N=123). Published program length for the
KAM program is six years, and for the course-based program, 4.8 years. Of KAM students who completed (N=116),
the majority (78%) complete the program in six years or less. 153 The following charts show length of time in years
(Figure 32) and months (Figure 33) for students who have completed the Ph.D. in Management program since fall
2008. 154




150
    Note: Only those who entered and remained in the Ph.D. in Management are used in this calculation; this excludes
transfers and those who withdrew and were re-admitted. The data is filtered on Program Name 2, which keeps PhD in
Management, PhD in Management - Course Based and PhD in Management - KAM Based.
151 Status of withdrawn; Note: Only those who entered and remained in the Ph.D. in Psychology program are used in this

calculation; this excludes transfers and those who withdrew and were re-admitted.
152 Students with program: Ph.D. in Management, Ph.D. in Management KAM, and Ph.D. Management COURSE

153 Please note that students who were admitted prior to fall 2008, but completed during the years 2008-2016 would not be

included in this calculation. Also note that students who took longer than eight (8) years to complete the program would
not be included in this analysis, as the data provided only included those admitted fall 2008 and who graduated by fall
2017.
154 Total years complete; the lower of the two whole numbers would represent those who complete between two whole

numbers. For example, those who complete in 3 years, 11 months, would be captured in the three-year category.

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2.4. Walden’s Faculty
Walden uses the term core faculty for those assigned to specific colleges and programs who engage in program
initiatives and instructional activities for 50-100% of their professional time. Contributing faculty refers to part-
time Walden faculty members who may also participate in activities related to administration and governance of
their programs but whose primary focus is on instructional activities. The total faculty supporting doctoral
programs for the 2015-2016 academic year falls somewhere between 884 and 1,017. 159

The following section presents information on faculty credentials, teaching load, and faculty turnover. Teaching
load information includes courses taught, residencies attended, and KAMs assessed. Committee load was
provided to OHE in a separate data file. For specific information related to faculty committee load, see Part Three:
Committee Member Roles and Responsibilities.

2.4.1 Faculty Credentials
OHE reviewed 10% (via a random sample) of the curriculum vitae (CV) provided, by faculty program affiliation.
CVs were reviewed in accordance with published policies on faculty credentials and experience. Specific policies
regarding faculty qualifications are located in the Faculty Handbook (Jan., 2017) which states faculty members will
have an earned doctorate in the field of study or a closely related field to teach graduate-level courses. Exceptions
may be considered for contributing faculty in lieu of a doctorate for those with a master’s degree and upon
meeting one of at least three criteria (as outlined in the faculty handbook). Of the CVs reviewed, all but one had
a doctoral degree; information for this faculty listed 30 quarter credit hours post-MA. Based on the CVs reviewed,
Walden faculty experience and credentials are consistent with published Walden policies.

Walden lists faculty credentials and general availability to serve on dissertation and doctoral project committees
in the Faculty Expertise Directory (FED) 160 located on a website. The Office for Student Research Administration
(OSRA) website includes an Excel file that lists DBA and PhD Management faculty by name including methodology
and content expertise. 161 These listings designate faculty availability for assignment, but do not list faculty
credentials.

2.4.2 Teaching Load
As a means to contextualize the information, a summary of faculty count (e.g., faculty who engaged in teaching a
course, assessing a KAM, and/or attending a residency), by college, full and part-time status, was calculated. 162 As
shown in Figure 37, the College of Social and Behavioral Sciences (CSBS) has the greatest number of full and part
time faculty compared to the other three colleges.


159 According to Walden-supplied data for “Doctoral Faculty Teaching Loads” (Q11), total faculty for the 15-16 academic
year was 1,017. According to “Doctoral Faculty Turnover” (Q12), total faculty for the 15-16 academic year was 884.
160 http://academicguides.waldenu.edu/researchcenter/resources/FED
161 http://academicguides.waldenu.edu/researchcenter/osra/dba
162 Data extracted from Walden-supplied Q_11 Doctoral Faculty Teaching Loads (.xlsx file)


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section is likely an underrepresentation of the complete responsibilities (which would account for committee
service and program initiatives) assigned to full and part time faculty.

Data for KAM assessments was analyzed from data provided in order to get a closer look at the trends of faculty
engaged in assessing KAMs. 168 Over time, the percentage of faculty assessing KAMs has decreased; in the most
recent academic year, only 8% of Walden faculty were assigned as a KAM assessor (see Table 27). All KAM
programs have been discontinued, therefore, the decrease in total KAMs assessed is expected.

                       Table 27. Total and Average KAMs Assessed, by Percentage of Faculty

                                                  Total Faculty
                           Total KAMs                                           Average KAM assessed
             Academic Year                        Assessors (% of
                           Assessed                                             per faculty (min., max.)
                                                  faculty)
             2015-2016            178             77 (8%)                       2.33 (1, 11)
             2014-2015            227             90 (9%)                       2.52 (1, 18)
             2013-2014            307             122 (12%)                     2.52 (1, 10)
             2012-2013            415             177 (18%)                     2.28 (1, 13)
             2011-2012            656             227 (21%)                     2.60 (1, 16)
             2010-2011            838             260 (25%)                     3.04 (1, 22)
             2009-2010            1,072           274 (32%)                     3.91 (1, 19)
             2008-2009            1,212           262 (36%)                     3.0 (1, 26)


2.4.3 Faculty Turnover
Based on information provided by Walden to OHE, total faculty per program are presented by calendar year with
the number representing the total faculty at the first of the year with total terminations occurring throughout the
year. As follows, the number for the year following would be total faculty from year prior minus terminations plus
any new hires from the year prior. OHE asked Walden why the number at the start of the following year is lower
(and yet does not equal) than the total from the year prior minus prior year terminations. Walden informed OHE
that the reason for this discrepancy is due to faculty who were re-assigned to a closely-related program or
different modalities of the same program (e.g., course- and KAM-based versions of the same program, master’s
and doctoral programs, and research and professional doctorates of the same discipline). 169 In conclusion, the
total terminations as listed will not include those faculty who transferred to another program. It is not known


168
   Data extracted from Walden-supplied Q_11 Doctoral Faculty Teaching Loads (.xlsx file)
169
   For example, the Ph.D. in Public Policy and Administration lists 77 faculty for the 2012 year with 1.3% terminations
throughout the year; however, at the start of 2013 it lists 53 total contributing faculty. In this instance, when asked to
explain, Walden noted that in this program twelve (12) new faculty were hired, two (2) faculty were reassigned from the
Master of Public Administration program, thirty three (33) faculty were reassigned to the Master of Public Administration
program, and five (5) terminations occurred. Walden noted that “faculty that are reassigned to a closely-related program
or different modality of the same program, faculty are neither encouraged nor required to change their membership on a
student doctoral capstone committee” and that “such a change generally has no impact on their current doctoral
committee assignments and most will continue with the students they were previously assigned.”

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Part Three: Walden’s Policies and Procedures
OHE reviewed Walden’s policies/procedures and administrative monitoring tools utilized to assess and provide
feedback to students through the various stages of the dissertation (tracking progress, changes in committees,
and providing timely feedback to students). Advertising and enrollment staff training materials were also reviewed
with specific attention to published or communicated cost and time to completion. Lastly, Walden’s continuous
improvement procedures and program reviews are summarized. These policies and procedures are reviewed
within the context of student complaint categories, as addressed and summarized in Part One.


3.1 Committee Member Roles & Responsibilities
Walden has policies in place that outline the roles and responsibilities of capstone committee members related
to committee feedback, committee workloads, and committee transitions. This section will review Walden’s
policies and practices regarding committee activities, including Walden’s monitoring of committees, and present
relevant data within each section in order to provide additional context.

3.1.1 Committee Feedback
Walden’s committee policies are accessible via the Office of Research Administration’s website and within the
2017 Walden Faculty Handbook. 171 A summary of these policy areas is outlined below.

According to the Walden Faculty Handbook, faculty are expected to “initiate and maintain frequent, regular, and
timely interaction with students, at a minimum of twice per academic term and certainly as often as needed to
adhere to the SU grading guidelines for planning and progress” (p. 67). The Handbook further states that faculty
are to evaluate students’ work related to their progress in achieving academic milestones, assist students in
maintaining substantive academic progress towards timely degree completion, and document regular contact
with the student (e.g., at least once per month or more frequently as directed by the college/school/program).

Additionally, faculty are to respond to submissions of research drafts upon receipt of the drafts and indicate when
the draft will be returned. 172 Specifically, faculty are generally expected to review and return work within two
weeks, or alternatively, provide a substantive overview of the issues and concerns with an estimate of when the
full review would be complete. Furthermore, the policies outline that the committee chair should provide
guidance on activities for the student to complete during the review phase to allow the student to continue to
progress. If the committee chair is purposely and actively providing guidance through the review phase, students
likely will feel more engaged and may express fewer concerns about feeling like they are stuck in a “holding
pattern” while awaiting feedback.

When timely feedback may be impacted by faculty absences, faculty are expected to follow processes as outlined
within the faculty handbook. This includes steps that should be followed when faculty will be unavailable for more


171
      https://academicguides.waldenu.edu/researchcenter
172
      According to the Walden student handbook (September 2017)

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than two, but fewer than seven, consecutive calendar days. Additionally, the handbook outlines procedures that
should be followed when faculty will be unavailable for seven or more consecutive calendar days. These include
seeking approval of the program director and notifying the program director of any backup coverage that will be
needed.

Should a conflict arise within a committee, specifically with the feedback provided by the University Research
Reviewer (URR), 173 Walden has a “URR Appeals Process” which may escalate from informal resolution, to
mediation and/or arbitration 174 , to an appeal to the executive director of the Center for Research Quality (CRQ). 175
It is not known when this appeals policy was instituted nor the number of committees electing this process.

3.1.2 Committee Transitions
Committee transitions result from a faculty member resignation, a student requesting a change in committee, or
a faculty member requesting a change for the student. In instances when faculty members requested a change, it
was often cited (in complaint materials) that the faculty felt the student would be better served by another faculty
member (e.g., student was not making progress and/or was not accepting and integrating feedback from faculty).

Walden has policies in place intended to govern the transition between committee member changes that are
designed to minimize the impact on student progression. These policies are to prevent students from having to
complete additional work, or to go back and make changes to work that had been previously approved (barring
instances when a prior member approved work that failed to meet standards on the rubric or evaluation tool).

According to information as published on Walden’s Office of Research Administration website, “turnover in the
membership of research capstone committees creates delays in student progress contributing to reduced student
satisfaction and increased attrition. Therefore, faculty are encouraged to work closely and cooperatively with their
program directors to minimize the need for replacing student committees’ members. When a faculty member still
wants to be released from his or her duties as a committee member or chair on a dissertation or doctoral study
committee after initial conversations with their program director, the following process is used.” 176 This process
incudes the committee resignation request, which upon submission, is either approved or denied by the program
director or designee.

Committee resignation requests must be submitted to the program director alongside supporting documentation,
including a program-specific action plan. It is expected that students are provided with a program-specific action
plan to facilitate the change and to maintain their progress. Any committee changes must be approved by the
program director and must occur between the end of one term and the add/drop window of the following term.



173
    The URR serves as the quality assurance mechanism for the capstone research and is intended to provide feedback to
students at various points in the process, including the early (proposal) and final study stages.
174 Walden does not utilize formal arbitration external to Walden with students, but uses the term arbitration for an

internal dispute resolution process where a neutral third-party from within Walden reviews and decides disputes between
faculty members.
175 URR Appeals Process as cited in Walden University’s URR Manual (June 2016), p. 11.
176 https://academicguides.waldenu.edu/researchcenter/osra/committee


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The new committee member is expected to honor the progress the student made with the endorsement of the
previous member, provided the work meets university standards as expressed on the doctoral rubric.

According to information provided by Walden, 177




                                                                                                      . Based on
this feedback, Walden noted that the CRQ is using this information to increase the level of detailed guidance in
this policy. It is not known the degree to which this policy is effective in decreasing turnover and student
complaints regarding committee transitions; the effectiveness of this policy will need to be reviewed at a later
date.

OHE does not know whether the changes to committees of those who complained are similar or different from
changes for all Walden committees. When asked about the overall frequency of committee turnover (for all
Walden students, not just those who complained), Walden indicated that, among all committees in 2016, 38%
had a change in membership with the average number of changes as 1.4. 179 Due to data constraints, OHE was also
unable to determine how many committee changes resulted from student requests versus how many were
initiated by faculty or as a result of faculty leaving the University.

If the aforementioned policies are followed, committee member changes and feedback should not lead to
needless delays or conflicting feedback. Walden policies are in place to ensure the feedback is timely and the
transitions do not impact student progression. OHE did not request, nor was provided, data indicating the degree
to which these policies are followed. Because of the time involved in reviewing student work, it is important for
Walden to have guidelines in place regarding the number of student assignments per faculty member, also known
as committee load.

3.1.3 Committee Loads and Ratios
In order to understand the expectations for faculty committee work, OHE reviewed policies and data related to
committee load and committee ratios. As shown in Table 28, Walden has recently implemented guidelines for
core (full time) and contributing (part time) faculty.




177 Walden letter to OHE 4/20/2018; narrative response only, as survey data not provided directly to the office.
178 The RPAC membership includes the executive director and staff from the Center for Research Quality as well as faculty
representatives from each college.
179 Walden letter to OHE 10/2/2017


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                                     Table 28. Faculty Committee Load Guidelines

 Year(s)                                    Contributing Faculty Guidelines         Core Faculty Guidelines
 Prior to 2015                              None                                    None
 2015                                       Maximum committee load was 30           None
                                            students per contributing faculty
                                            member.
 Recent, date unknown (sometime             For quarter-based programs,             A 1:3:5 workload ratio model in
 after March 2015) 180                      faculty should carry a maximum          which one committee chair
                                            annual load of 20 committee             assignment equates to three
                                            assignments, with no more than          second member assignments, or
                                            10 of those being committee chair       five university research reviewers.
                                            positions. For semester-based           Various committee assignment
                                            programs, faculty should carry a        mixes can lead to 18 units per
                                            maximum annual load of 16               year. A “balanced model” is
                                            committee assignments, with no          recommended with a mix of 20
                                            more than 8 of those being              chair, 20 second, and 25 URR
                                            committee chair positions. 181          assignments per year, equating to
                                                                                    18 units. 182

The newest recommended guidelines were presented by the staff of the Center for Research Quality (CRQ) to
Walden deans and directors. Walden verbally noted to OHE that these policies have since been implemented, as
directed by the Chief Academic Officer. 183

Policies regarding committee loads are disseminated by Academic Affairs and are monitored by the CRQ. Walden
acknowledged that during this time of transition there may be instances during which contributing faculty carry
more than 30 students in order to not further disrupt existing committees. Walden also noted that “stronger
faculty are more likely to be assigned larger student loads, because they specialize in helping to support student
completion and have a demonstrated record of success.” 184

The Center for Research Quality meets weekly with the Research Process Advisory Council in the oversight of
committees. CRQ provides reports of individual faculty loads to program directors on a quarterly basis, as well as




180
    Committee load policy: A model for compliance support for core and contributing faculty, Microsoft PowerPoint
presentation slides, authored by Laura Knight Lynn, Ph.D., Executive Director, Center for Research Quality and William
Schulz, Ph.D., Director of Academic Initiatives. Date unknown.
181 At the discretion of the program director, some experienced and skilled faculty could be assigned annual loads over 20

(quarter-based) or 16 (semester-based); anything above 30 will require associate dean approval.
182 Other options for assignments (all equating to 18 units per year) include: chairs with no other assignments could have 33

students per year; second members with no other assignments could have 91 students per year; URRs with no other
assignments could have 159 students per year.
183 Date when policies were implemented is unknown
184 7/21/2017 Walden University letter to OHE.


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stage. Prior to 2014, students and faculty relied on an email-based system for submitting and reviewing
dissertation and doctoral study documents. A summary of the two systems is outlined below (Table 31).

                    Table 31. Comparison between MyDR and the Prior Email-Based System 186

         Email-Based                                     MyDR
         More extensive monitoring of the process        Increased efficiency, transparency.

         Limited visibility of the submission and review Committee member assessments are recorded
         activities between chair and other faculty and shared; feedback from committee
         members.                                        members is stored within a central repository.


                                                    Ability for administrators to run reports about
         Relies on large files of stored emails and
                                                    students within process and to understand
         manual data entry.
                                                    faculty performance.

                                                         Email notification to students and faculty
                                                         regarding required pending or overdue actions.


Walden has begun a series of outreach interventions to committees in order to support substantive student
progress. These activities and results were reviewed by OHE via publicly-available information, including
webinars 187 and newsletters 188 from the Center for Research Quality (CRQ).

One webinar, Resources to Support Substantive Student Progress: CRQ Resources and Interventions/Initiatives,
provided information to faculty about Walden’s recent ability to extract more “real time data” from various
enterprise systems in order to pull quarterly information on student capstone statuses. Presenters noted that the
goal was to decrease the number of students who are “chronically delayed” at various stages, leading to long-
term consequences. Based on this goal, a series of intervention efforts were launched.

For example, CRQ recently launched “Intervention Outreach”, a pilot program initiated in November 2016 that
identified the top 20% of students who spent the most time within various dissertation stages, including the
proposal, final study, and final overall quality stages. The outreach, which began with the Ed.D. program, also
targeted those with four or more University Research Review reviews (this review is one step in the approval of
the capstone work). The Ph.D. programs’ outreach began in March 2017, followed by several professional doctoral
programs, including the DBA. Since piloting the intervention in November 2016, CRQ has emailed each member
of 129 committees directly and referred 471 cases to program directors across Ph.D. and Ed.D. programs.

As highlighted in the CRQ newsletter, the outreach to faculty revealed some anticipated and unanticipated
challenges to student progress. This included “…some faculty, including chairs, were unaware of how many URR

186 Summarized by OHE based on Walden narrative response 10/28/2016.
187
    http://walden.libanswers.com/cfe webinars/faq/210715
188 https://academicguides.waldenu.edu/ld.php?content id=36366443


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member review cycles that had occurred to date. This lack of awareness of previous reviews was sometime
attributable to turnover on the committee; however, we found that long-serving members were also sometimes
unacquainted with the historical reviews of their students.”

According to Walden, themes and findings from the intervention outreach included: student issues (life events,
challenges with writing), committee collaboration (feeling left out, set ways of viewing a problem), timely and
actionable feedback (the involvement in the review leads to taking longer, micro-corrections), turnover of
committee members (including when students return from a leave of absence), committee member awareness
of student progress and issues (faculty coming on board and not realizing the student has been rejected by URR
three or four times), and faculty familiarity with Walden processes (not uncommon with faculty working in other
institutions). The themes noted by Walden were consistent with the categories as identified in the student
complaints, specifically, delays in feedback, committee transitions, and committee turnover.

In summary, while the recent data extraction and monitoring systems are promising, their effectiveness is
unknown. Furthermore, OHE was unable to evaluate the full scope of the monitoring capabilities within MyDR. 189
The use of monitoring tools to ensure timely student progression, decrease disruption based on committee
turnover, and ensure faculty compliance with policies should be reviewed over time.


 3.2 Student Progress and Withdrawal
Given the number of complaints that centered on students failing to make progress during the capstone phase,
OHE was interested in the length of time Walden doctoral students are typically enrolled in capstone courses and
the methods used by Walden in supporting and evaluating student progress through the capstone phase. 190 As
documented in complaints, students often cited their lack of progress as stemming from Walden’s failure to follow
their policies and practices, while Walden often noted the lack of progress was due to student performance (e.g.,
resistance of changes required by the committee; struggles with writing process) or student life circumstances
(e.g., work or family obligations). 191

OHE requested, and Walden provided the average capstone credits earned for students who completed,
withdrew, or were still enrolled in a doctoral program. Average credits earned is presented in order to provide
insight regarding the average length of time students are in the capstone phase. Walden has noted that number
of capstone credits a student takes depends on any number of personal factors solely in the student’s control and
have no bearing on the strength of the program. 192




189
    Request was made 6/19/2017 for quarterly or annual reports utilized to monitor and intervene with students and/or
committees. One sample student output was provided.
190 Of note, monitoring students’ academic progress is separate and distinct from Walden’s academic progress standards for

the receipt of financial aid, as required by the DOE. This is commonly referred to as Satisfactory Academic Progress or SAP.
See https://www.waldenu.edu/financial-aid/types/federal/eligibility/maintain for SAP definition. Further OHE is not making
any statements regarding Walden’s compliance with DOE’s requirements for monitoring SAP for the receipt of financial aid.
191 The intention of the program review is not to validate these claims.
192 Walden letter to OHE 12/21/2017.


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satisfactory grades in capstone courses. This is relevant because it calls out the importance of early and
substantive feedback to students on their progress and likelihood to complete, especially for those who are
nearing the maximum time allowed by Walden to complete their program. It also highlights the importance of
communicating with students relevant policies or practices with dismissal or failing grades as being independent
of a history (long or short) of passing grades in the capstone phase.

Faculty are responsible for making a judgment, or grading determination, regarding scholarly products, including
dissertations and doctoral studies/projects. Prior to the completion of the capstone project, faculty committee
members are responsible for evaluating whether a student has made sufficient progress to move forward to the
next stage of the process, and ultimately to completion. The methods faculty utilize in the evaluation of a student’s
progress towards meeting course objectives are stated in syllabi, which outline course expectations and grading
requirements. The faculty instructor for the course, who also serves as the chair of the dissertation committee,
evaluates satisfactory progress of the capstone work.

Walden has reinforced that academic discretion rest with the institution. 196 Walden noted that the institution
could not be expected to “give a passing grade for work that is inferior of substandard just to graduate students
in the time period the student would prefer.” If students are not making substantive progress on their dissertation
goals during the capstone phase, it is assumed that faculty members are grading the students accordingly in their
capstone classes, and that the number of capstone courses taken would be reflective of the substantive progress
the students have made towards completing their degree.

In order to provide increased clarity for faculty on grading capstone work, a university-wide grading policy was
implemented in 2015 (went into effect 8/31/2015). The 2015 capstone grading policy 197 is intended to offer clarity
to students and faculty regarding the expectations for substantive progress through the capstone phase. OHE
reviewed syllabi for all Walden doctoral programs pre- and post-policy implementation and all current syllabi
reflect the new policy. 198 OHE does not know the degree to which this policy was effective in addressing student
complaints about sudden withdrawals or denied appeals for re-admission.

Based on information reviewed, OHE was interested in faculty expectations for grading, including instances in
which students were not making substantive progress. This is important because student complaints would cite
that they had received numerous passing grades for their capstone work, only to be surprised when they suddenly
received failing grades. In the webinar for Walden faculty, entitled “New Guidelines for S/U Grades”, 199 the
presenter reinforced to Walden faculty that progress on the capstone product was expected each term. The
presenter noted the rationale and the urgency of the issue framed as “continuing concerns regarding students
who have not made adequate progress on their capstone studies, yet receive satisfactory grades and remain
enrolled at Walden.” Further, the presenter stated to the faculty: “many of you have probably experienced or are




196 Walden letter to OHE 10/28/2016, p. 4.
197 See Appendix G, Substantial Progress Grading in Capstone Courses for description.
198 See Part Two, Chapter Two, Capstone Syllabi for more details.
199https://waldencfe.adobeconnect.com/p6gkxettcek/?launcher=false&fcsContent=true&pbMode=normal (PowerPoint

slide, p. 5). As presented by Dr. Lynn, Executive Director of the Center for Research Quality.

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aware of the fact that students have been continuing in the research process and receiving Ss and not
progressing.”

This information is consistent with student complaints in which several students received numerous “S” or
satisfactory grades for capstone courses over a long period of time prior to receiving unsatisfactory grades.
Further, students who petitioned to be re-admitted to Walden (after being dismissed) would often cite the passing
grades as evidence of their work and progress thus far on their capstone project.

In summary, Walden has made efforts to improve clarity regarding satisfactory grading of capstone courses. OHE
does not know the number of students receiving unsatisfactory grades before and after the implementation of
this policy. Further, it is not known whether the increased clarity regarding substantive work will have an impact
on student time to completion.

3.2.2 Advising and Outreach
According to policy, Walden’s defined time limits for doctoral students is eight years. Many students complained
that they were administratively withdrawn or were at risk of withdrawal based on reaching or nearing this eight
year time limit. While students can appeal administrative withdrawals, many student complaints included appeals
that were denied. Because of the nature of the issues in these complaints, OHE was interested in the ways Walden
identifies and supports students at risk of administrative withdrawal.

A dedicated team of advisors within the academic advising department is in place for students in their capstone
phase. The team consists of seven Doctoral Specialists, each of whom work with approximately 300 doctoral
students. Recently, this department began two Time to Degree Completion (TDC) campaigns, at the five- and six-
year mark of a student’s enrollment. Walden has noted that the percent of students enrolled from six to eight
years with an approved proposal has increased by 10 percentage points. 200 As part of the campaign, a warning
letter is sent to students when they are in year five and six of their program. This warning letter indicates students
who reach the time to completion limit that they may be subject to dismissal from the university. While this letter
is important, additional information related to capstone progress (e.g., stages completed, work remaining,
progress needed to complete on time) would be useful.

The advising department also conducts outreach twice per year for those students who have reached year seven
or are nearing the eight-year limit. In these instances, an Individual Academic Plan (IAP) is developed with the
student’s committee. This plan is used when students are not making adequate progress in their program; it
requires students to set goals for each remaining stage of the capstone process.

3.2.3 Early Assessment of Capstone Skills
OHE requested information from Walden regarding steps taken to provide students with early assessment and
feedback about the skills needed to complete the capstone product. This was requested in response to student
complaints which noted success during didactic (pre-capstone) courses, but subsequent confusion regarding the


200
      Walden letter to OHE 10/2/107; dates of campaign implementation and target students are unknown.

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difficulty or lack of progress during the capstone phase. In other words, students cited confusion that they
struggled in passing the capstone phases, given their success in didactic courses.

Walden responded to OHE’s request and cited a number of initiatives and support mechanisms utilized to improve
the student experience and to familiarize students with the dissertation phase, including: a mandatory writing
assessment for all incoming doctoral students, writing courses, and writing intensives. In addition to these,
Walden cited an orientation to the capstone and methodology office hours as additional structures to support
student success.

The mandatory writing assessment was implemented during the 2017 academic year. 201 Students who receive a
certain score based on their admission essay are required to enroll in no-cost graduate-level writing courses. For
a comprehensive description of the assessment, see the 2016-17 Student Handbook, which outlines the steps to
complete the assessment, as well as requirements for students who do not receive a passing grade on the writing
assessment. 202 Capstone writing workshops were implemented in 2014. Student participation is by choice or at
the recommendation, or requirement, of faculty. Descriptions of the writing assessments and workshop
descriptions appear below in Table 32.

                   Table 32. Walden Doctoral Writing Assessment and Workshop Descriptions

      Writing Assessment (at           Implemented 2017 academic year; piloted with several programs 203
      time of admission)               prior to full launch. This includes a scored writing assessment for first-
                                       year students on an admissions essay.
      Graduate-Level Writing           Required for students who score at a certain level on the writing
      Courses (Graduate Writing        assessment; courses are taken at no cost during the student’s first year.
      I and II)
      Capstone Writing                 Implemented in 2014; offered for each chapter of the dissertation;
      Workshops                        student participation is by choice or at recommendation/requirement
                                       of faculty.
      Doctoral Writing Intensives      In-person, small groups designed to help student make progress; may
                                       be referred or attend by own choice.


It appears Walden’s steps to assess and support student writing skills have had a preliminary impact on timely
progression throughout the capstone phase. For instance, Walden cited 71% of students who participated in a
writing workshop obtaining proposal approval, whereas those who did not participate had a 27% proposal
approval rate. Walden also made note that students who attended a doctoral writing intensive achieve equal or
faster progress on their capstone work compared to non-attendees. It is not known how these interventions will
impact student time to completion over time.




201 https://academicguides.waldenu.edu/writingassessment
202 http://catalog.waldenu.edu/content.php?catoid=147&navoid=47703
203 Ph.D. in Psychology, DSW, Ph.D. in Management, Ph.D. in Education, Ph.D. in I/O Psychology, and Ph.D. in Human

Services

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 3.3 Advertising
Based on the number of doctoral student complaints concerning Walden’s advertised time and costs to complete
their doctoral program, OHE was interested in the sources of information that prospective students utilized when
making enrollment decisions (e.g., questions such as, “How long will it take me to complete my program?” “How
long do most students take to complete this program?”, “How much will this program cost?”). In order to
accomplish this, OHE reviewed program catalogs, degree planning templates, and public disclosures related to
time to completion and program costs. 204 Walden noted that universities are not required and cannot accurately
estimate the time it will take a specific student to complete a doctoral program.

Walden utilizes two websites to provide prospective students with information about their doctoral programs; it
is not clear to OHE what the intended distinction is between the two. One website includes details on programs
and specializations, curriculum, career options, admissions requirements, tuition and financial aid, and
accreditation. 205 This particular website directs visitors to an enrollment advisor and does not list costs or credits
for programs. Another website contains similar information, however, has more complete details on total credits
and program costs. 206 Here, under minimum completion requirements, it is noted: “In general, students are
continuously registered in the dissertation course until they complete an approved dissertation. This usually takes
longer than the minimum required terms in the dissertation course shell.”

On the directory of listings for all Walden doctoral programs, the following is written at the bottom of the web
page: 207

       Program length reflected in months on the program data pages is based on the performance of
       Walden’s past graduates. Walden’s doctoral programs have an 8-year maximum timeframe for
       completion. Walden makes no guarantee of any individual student’s actual completion time. Time to
       completion and cost are not estimates of individual experience and will vary based on individual
       factors applicable to the student. Factors may be programmatic or academic such as tuition and fee
       increases and/or the student’s transfer credits accepted by Walden; program or specialization
       changes; unsuccessful course completion; credit load per term; writing, research and editing skills;
       use of external data for their doctoral study/dissertation; individual progress in the program. Other
       factors may include personal issues such as the student’s employment obligations; care giving
       responsibilities or health issues; part-time vs. fulltime enrollment; leaves of absence; or other personal
       circumstances.



204
    Materials, as submitted by Walden, included 1) video clips of current students, alumni and faculty talking about various
aspects of the programs, 2) email scripts to potential students, both domestic and international (including invitations to
attend webinars; scholarship and tuition reduction offers), 4) links to Facebook advertisements, 5) advertising campaign
titles and descriptions (3,105 Microsoft Excel pages), 6) U.S. Department of Education Gainful Employment (GE) disclosures,
and 7) Walden University’s Editorial Style Guide (July, 2016) with all non-doctoral program information redacted.
205 https://info.waldenu.edu/
206 https://www.waldenu.edu/
207 https://www.waldenu.edu/programdata?comm code=4111330& ga=2.220603423.624013227.1503941070-

254177747.1500309128 Retrieved on 12/18/17; unknown date originally placed on web page.

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In order to understand information prospective students utilize in making enrollment decisions, OHE reviewed
Walden’s publicly-facing webpages. In the sections that follow, information is provided on the materials published
regarding completion and program costs, as well as information used in the training of enrollment counselors.
These counselors are responsible for answering questions and responding to the needs of prospective students.
Outlining this review is important in order to gain additional insight into specific student complaints, such as those
that expressed concerns that their program was taking far longer than the timeframe provided at the time of
admission (or pre-enrollment).

3.3.1 Walden Program Data Information
There are two websites students can access in order to understand program time to completion. This includes
materials on time to completion as located on Walden’s program pages 208 , as well as program data pages209 , as
required by the Department of Education.

Under the United States Department of Education’s (USDOE) Gainful Employment (GE) disclosures (“GE
disclosures”), institutions are required to publish program information on program length, students graduating
on time, program costs, borrowing and earning information, and job placements. 210 These disclosures require
institutions to display the number of students graduating on time, which is the amount of time to complete as
published in the institution catalog or other publication. 211

For Walden’s doctoral programs, “N/A” was listed under “students graduating on time” for the most recent
disclosures reviewed (2017). Walden has noted that the USDOE has directed institutions to enter a zero (which
will be displayed as N/A) for programs greater than four years. As such, none of Walden’s current doctoral
program pages include information on students graduating on time. Prior to 2017, however, Walden did provide
information on the percentage of students who completed the program, as shown in Table 33 below. The
questions listed in the header of the table indicate how the information was displayed on Walden’s GE disclosures
web page.




208
    For example, see DBA Program Page, 3.3 year minimum completion https://www.waldenu.edu/doctoral/doctor-of-
business-administration/tuition-fees
209 https://www.waldenu.edu/programdata
210 https://www.gpo.gov/fdsys/pkg/CFR-2017-title34-vol3/xml/CFR-2017-title34-vol3-sec668-412.xml
211 On-time completion rates as defined in 34 CFR 668.6(c): for the most recently completed award year, divide the number

of students who completed the GE program within normal time by the total number of students who completed the
program and multiply the result by 100%.

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                   Table 33. Select Gainful Employment (GE) disclosures provided by Walden 212

      Program                   “How long will it take me to complete           “How much will this program
                                my program?”                                    cost me?” 213
      PhD      in    Counselor This program is designed to take 60              Tuition and fees: $68,092
      Education & Supervision   months to complete. Of those that
                                completed the program in 2014-15,
                                79% finished in 60 months.
      PhD in Education          This program is designed to take 58             Tuition and fees: $84,408
                                months to complete. Of those that
                                completed the program in 2014-15,
                                14% finished in 58 months. 214
      PhD in Management         This program is designed to take 58             Tuition and fees: $82,410
                                months to complete. Of those that
                                completed the program in 2014-15,
                                24% finished in 58 months. 215
      PhD in Psychology         This program is designed to take 66             Tuition and fees: $86,987
                                months to complete. Of those that
                                completed the program in 2014-15,
                                21% finished in 66 months. 216
      Doctor      of   Business This program is designed to take 50             Tuition and fees: $75,931
      Administration            months to complete. Of those that
                                completed the program in 2014-15,
                                52% finished in 50 months.




212
     Provided by Walden as .pdfs of webpages with print date of 10/7/2016. All footnotes which follow are directly quoted
text from these webpages.
213 “The amounts shown above include costs for the entire program, assuming normal time to completion. Note that this

information is subject to change.”
214 “The PhD in Education program experienced significant program revisions in fall of 2010. The program structure was

revised from an independent study learning model to a course-based model. The reported completion rate of 14% mainly
reflects the performance of graduates from the independent study learning model, which is no longer offered. For those
students who recently completed the course-based model, 100% completed in the stated program length of 58 months.”
215 “The PhD in Management experienced significant program revisions in fall of 2010. The program structure was revised

from an independent study learning model to a course-based model. The reported completion rate of 24% mainly reflects
the performance of graduates from the independent study learning model which is no longer offered. For those students
who recently completed the course-based model, 94% completed in the stated program length of 58 months.”
216 “The PhD in Psychology experienced significant program revisions in fall of 2010. The program structure was revised

from an independent study learning model to a course-based model. The reported completion rate of 21% mainly reflects
the performance of graduates from the independent study learning model which is no longer offered. For those students
who recently completed the updated program, 100% completed in the stated program length of 66 months

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                                                                         GE Disclosures     GE Disclosures
                                                  Minimum Time
  PROGRAM (Year of Inception)                                            Program Length     Program Length
                                                  Months (Years)
                                                                         (2016) (Months)    (2017) (Months)
        PH.D. In HE and P: TRACK 3                       39 (3.25)               54228              73
      Ed.D. in Education (2004)                          33 (2.75)                52                56
      DBA (2008)                                          40 (3.3)                50                56
      PH.D. in I/O Psychology (2014)                     39 (3.25)                63                63
      DNP (2011)                                          18 (1.5)                33                50
      DSW (2013)                                          30 (2.5)                48                56
      PH.D. in Social Work (2013)                         30 (2.5)                48                56
      PH.D. in Nursing (2014)                             30 (2.5)                53                56


Those graduates included in Walden’s calculation for program length are unknown. For example, it is not known
if this is the performance for all Walden graduates, for Walden graduates for the past number of years, or for
graduates of the specific program. It is also unknown how these completion numbers were derived for programs
that have likely not had any students graduate since program inception (e.g., a program inception of 2015 and 6.1
years for program length).

Table 36 summarizes gainful employment disclosures provided by Walden to OHE 229 for those students who
completed the program in 2014-2015. Directly quoted information from the disclosures is noted in the table
header.

                       Table 35. Gainful Employment Disclosures for Select Walden Programs

      Program                        “This program is designed to    “Of those that completed the program in
                                     take X months to complete”      2014-15, (%) finished in (months).”
      Ed.D.                          52 (4.3 years)                  23% (52 months)
      Ph.D. Management 230           58 (4.8 years)                  24% (58 months)
      Ph.D. in Psychology            66 (5.5. years)                 21% (66 months)
      Ph.D. in Public Policy         55 (4.6 years)                  28% (55 months)
      DBA                            50 (4.1 years)                  52% (50 months)



3.3.2 Web Page: Tuition and Fees
As noted previously, there are two Walden websites 231 and, according to information reviewed by OHE, only one
(www.walden.edu) provides information on tuition and fees. The other website (https://info.waldenu.edu/)




229 Q17_003415; Q17_003423; Q17_003441; Q17_003431
230
    KAM and/or course-based not specified
231 https://info.waldenu.edu and https://www.waldenu.edu


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directs prospects to contact an enrollment advisor order to get more information on program costs. Table 36
represents a sample of tuition information for several doctoral programs located on Walden’s webpage.

                             Table 36. Tuition Disclosures, for Select Doctoral Programs

 Program                Tuition Page                                            Cost (2018)
                        https://www.waldenu.edu/doctoral/doctor-of-
 DBA                                                                            $980/semester hour
                        business-administration/tuition-fees

 Ph.D. in               https://www.waldenu.edu/doctoral/Ph.D.-in-
                                                                                $725/quarter hour
 Management             management/tuition-fees

                        https://www.waldenu.edu/doctoral/doctor-of-
 Ed.D.                                                                          $605/quarter hour
                        education/tuition-fees

 Ph.D. in Public
                        https://www.waldenu.edu/doctoral/Ph.D.-in-public-
 Policy and                                                                     $610/quarter hour
                        policy-and-administration/tuition-fees
 Administration

 Ph.D. in Human
                        https://www.waldenu.edu/doctoral/Ph.D.-in-human-
 and Social                                                                     $615/quarter hour
                        and-social-services/tuition-fees
 Services
 Ph.D. in               https://www.waldenu.edu/doctoral/Ph.D.-in-
                                                                                $585/quarter hour
 Psychology             psychology/tuition-fees

Prior to January 2018, the tuition listed on Walden’s webpages displayed the tuition corresponding with the
minimum credits needed to complete the degree. 232 As of January 2018, Walden web pages now include the
range of total dissertation credits (e.g., 20-quarter credits minimum to 120 credits 8-year maximum) and the
corresponding total cost associated with this range.

Based on the complaints that raised concerns about program costs being higher than what was promised, OHE
was interested in the cost difference when accounting for average capstone credits earned. As shown in Table 37,
when accounting for average capstone credits (based on credits earned by program completers), the total
program cost difference ranges from $15,730-$34,300 for five select programs. It is assumed students who take
the average capstone credits will pay more than the minimum required for their degree. Based on information
reviewed by OHE, no information was found that would provide students with the average cost, given the average
time to completion for program graduates.




  For example, see: https://web.archive.org/web/20150310141423/https://www.waldenu.edu/doctoral/doctor-of-
232

business-administration/tuition-fees

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      Table 37. Minimum Total Program Costs Compared with Average Total Program Costs based on Average
                                          Capstone Credits Earned

        Program                             Total Program         Program Cost 234       Difference
                                            Cost 233 (Minimum)    (Including Average
                                                                  Capstone Credits)
        DBA                                 $63,400               $97,700                + $34,300
        Ph.D. in Management                 $69,670               $92,145                + $22,475
        Ed.D.                               $48,830               $64,560                + $15,730
        Ph.D. in Public Policy and          $60,665               $80,185                + $19,520
        Administration
        Ph.D. in Human and Social           $58,145               $90,125                + $31,980
        Services
        Ph.D. in Psychology                 $71,870               $98,195                + $26,325

In sum, the information displayed in Walden’s current webpages does provide information on program length and
program costs; however, prospective students would likely need assistance in interpreting what this range means
in terms of the time the average student takes to complete the program. Prior to the updates, the minimum
program costs were published. Given the average capstone credits students take, it is likely that many students
complete their program with more than the minimum credits and therefore end up paying more than the
minimum tuition costs. Recent updates to webpages include a range of credits and time to completion. It is not
known the degree to which these new disclosures will have upon decreasing student complaints regarding
program costs and time to completion.

3.3.3 Recruitment Processes and Materials
Walden described the strategies used for recruiting students, which include a significant online presence (i.e.,
social media channels, online marketing materials, Walden’s web site), as well as efforts through employers or
employer-sponsored benefit fairs or expos. Once a prospective student requests information, Walden uses direct
mail, email, and social media ads.

Information provided by Walden to OHE included program information guides, handbooks, and other materials
used in the training of enrollment advisors. Enrollment advisors participate in a three-week training program and
must pass a written and phone assessment. Walden provides advisors with ongoing monitoring and training
related to program updates, communication skills, and technology. See Appendix F, Walden Recruitment and
Advising for a summary of materials reviewed by OHE.




233
      Tuition, Technology Fee, and Residency Fee (as published on Walden web pages)
234
      Total cost when adding the average capstone credits earned by program completers

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Enrollment advisors are trained to direct prospective students to the program data pages (as discussed in the
previous section) that provide information on costs and time to completion. Each enrollment advisor is provided
with a program information guide for each program they are responsible for recruiting.

OHE was unable to locate specific training information or scripts provided to enrollment advisors on responding
to questions about time or pathways to completion, the typical time a student takes to complete, or how many
credits students typically earn in capstone writing courses. Advisors are trained to direct students to the program
data pages, which does contain information on cost and time to completion; however, it is not known whether
this refers to program Gainful Employment data pages, or program information pages. It is also unknown which
of Walden’s two webpages enrollment counselors are directing prospective students to. 235 Information provided
on the webpages suggests enrollment advisors are able to provide personalized estimates of cost and program
length. No training information, however, was located in the materials provided regarding information used in
training of advisors who work with students to offer them personalized estimates of completion.


3.4. Accreditation and Program Evaluation
As noted earlier, Walden is accredited at the institutional-level by the Higher Learning Commission (HLC) and many
programs have specialized accreditations. While accreditation reports and reviews could provide relevant context
in understanding the nature of doctoral student complaints, Walden does not make the reports publically
available. 236

Walden’s continuous improvement system describe the five areas used to provide feedback to faculty and
administrators regarding the student experience. 237 Of particular interest to OHE are the Academic Program
Reviews (a comprehensive assessment conducted every five years, include a review of program’s faculty, students,
and support services, to name a few) and university surveys, which ask current students and alumni about a variety
of experiences, including the capstone phase. These materials would provide additional context and
understanding into the nature of the student complaints. For instance, such reports and surveys could likely
identify how current students and alumni experienced the capstone phase, and the ways in which Walden sets
and measures performance indicators, such as retention, dissertation processes, and completion.

Walden, however, also noted that many of the academic improvements from 2008-2016, which were intended to
improve academic rigor as the university was being held to stricter academic standards, may have had the
unintentional consequence of extending students’ enrollment. 238




235
    https://www.waldenu.edu/doctoral or https://info.waldenu.edu/walden-programs/doctoral
236 Universities may elect to publish accreditation reports; however, most do not. Based on a recent report, only two
accrediting bodies publish or require universities to publish reports, including WSCUC and AACJ. See:
https://www.americanprogress.org/issues/education-postsecondary/reports/2018/04/25/449937/college-accreditors-
miss-mark-student-outcomes/
237 https://www.waldenu.edu/about/who-we-are/data/continuous-improvement-system
238 Walden letter to OHE 10/28/2016.


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In order to gather information on the student doctoral experience, validate Walden’s claims in submissions to
OHE, and to gain broader context into the capstone phase and key student performance indicators, the following
documents were requested from Walden.

                                        Table 38. Requests from OHE to Walden

 ITEM                         RATIONALE
 Benchmark studies (2010-
 present)     conducted    by
 external            research
 organizations                                                                                 .
 Internal Study




 Rockman Study




 Program Review Reports              Review as part of validating the continuous improvement processes and
                                     changes to policies and procedures applicable to the doctoral programs.
                                     Review the action plan, recommendations, and one year follow up as
                                     applicable to the programs without an external accreditation review. Request
                                     the program review cycle and schedule, which includes dates of review for the
                                     doctoral programs.
 Accreditation Reports               Review accreditation reports at the institution and program level, including
                                     those submitted and received for the following programs: Education (EdD),
                                     Business and Management (DBA, PhD in Management).

Walden agreed to provide segments of the aforementioned reports, but would only do so at an in-person meeting;
subsequently, Walden agreed to provide summaries for doctoral program reviews, calling out specific report
findings and recommendations as related to the capstone phase, retention and completion. Walden declined to
provide accreditation reports, surveys, and internal studies to OHE.

3.4.1 Program Reviews
As noted above, the Agency’s request for program review reports were not fulfilled. In lieu of producing the
reports, OHE requested and Walden provided a summary, plan of action, and follow-up conducted based on
recommendations of the external review. The program reviews provide a broader understanding of the
recommendations made by external experts or higher education peers who have reviewed Walden’s doctoral
programs. Across several programs, reviewers recommended discontinuation of the KAM-based programs,
increase numbers of faculty available to serve on dissertation committees, monitor and train faculty in areas of

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feedback and communication among members, and to improve mechanisms to assess student progress and
completion.

Table 39 represents a brief synopsis of the summary reviews (for indicators relevant to the OHE program review),
including program name (date review commenced; date of follow-up), recommendations, and follow-up.

                                        Table 39. Summary of Program Reviews

         Recommendations:                                      Follow up:
     Ph.D. Psychology (2009; 2010)
     •    Strengthen faculty model                         •   Adoption of faculty model (delineate faculty
     •    Assure faculty credentials match doctoral            responsibilities and supports)
          students                                         •   Addition of full- and part-time faculty
     •    Ensure appropriate faculty workload              •   Strengthen faculty credentialing
     •    Assure consistency of dissertation quality       •   Established limits on number of committees
                                                               for faculty chairs.
     Ph.D. Human Services (2009; 2011)
     • Develop course-based alternative to KAM- • Course-based students had higher retention
         based model                                       rates than KAM-based students
     • Increase faculty in human services who can • Additional core faculty added
         conduct URR                                   • Tracking of qualifications through the Faculty
     • Increase number of methodologists as faculty        Expertise Directory
         members
     Ph.D. Applied Management and Decision Sciences (currently Management) (2009; 2011)
     • Develop course-based alternative to KAM         • Course-based track introduced 2011
     • Develop a comprehensive guide for each KAM • Guides 80% complete; expected fall 2011
         specialization                                • Initial generic syllabus developed
     • Implement generic syllabus across all • Residency attendance tracking developed;
         dissertation courses (more guidelines and         12% out of compliance for all four residencies
         deliverables)                                     as of May, 2011
     • Increase percentage of students attending
         residency within first six months
     Ph.D. Education (2008; 2010)
     •   Provide more course-based or mixed model          •   Program of study documents revised to
         options                                               emphasize SBSF 7100 expectations
     • Increase support for faculty research               •   Additional course-based specializations
     • Further support student writing in the KAM              offered
     • Increase number of URR faculty from program         •   Research support increased
     • Provide additional research skill support
     Ph.D. Public Policy and Administration (2009; 2011)
     • Offer a course-based format                         •   Implemented course-based model
     • Monitor success rates in PPPA 8000

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         Recommendations:                                      Follow up:
     • Hire more part-time faculty with strong             •   Ten new research methods faculty hired in
         research methods          competencies      and       2010
         dissertation mentoring abilities                  •   Faculty meetings began training on research
     • Increase dissertation process and content               and dissertation process
         competency of current faculty                     •   System implemented to monitor URR
     • Use URR feedback to monitor committee                   feedback
         member contributions                              •   System to visit research forums began
     • Visit 7100 and 9000 research forums to ensure           immediately
         interaction among mentors and mentees
     Ph.D. Public Health (2009; 2010)
     • Hire more faculty to serve on and chair             •   Hired twenty (20) contributing faculty for
         committees                                            M.P.H. and Ph.D. Public Health
     • Improve evaluation processes for dissertations,     •   A URR evaluation tool, lead faculty checklist
         including rubrics used                                and student self-assessment were created
     • Create checklist that asks chairs to report about       and scheduled to be implemented in 2011 to
         the progress of their students three times per        monitor faculty performance and student
         quarter                                               progress
         Ph.D. in Health Services (2009; 2010)
     • Consideration of professional degree                •   Five (5) new faculty added
     • Development of retention plan                       •   Retention     committee     formed;     was
     • Review dissertation alternatives                        developing a retention plan
     • Assure sufficient faculty in number and             •   A URR evaluation tool, lead faculty checklist
         expertise                                             and student self-assessment were created
     • Implement evaluation process for dissertation
         faculty and student progress in dissertations
     Ed.D. and Ph.D. Education (combined, 2014; 2016)
     • Teach out KAM model for Ph.D. Education             •   KAM and mixed-model all in teach-out
     • Add small stipend to second committee               •   Addition of small stipend for second
         member and strengthen benchmark payments              committee member along with increases to
     • Increasing points of communication between              benchmark payments to incentivize student
         URR and other committee members                       support
     • Increase training for committee members             •   Increased involvement of the URR
                                                               Increase requirements and opportunities for
                                                               faculty training on mentoring
     DBA (2014; 2015)
     •    Increasing consistency in feedback among •           Changing time-to-completion
          committee members                                    communications was in process
     •    Create refresher training for faculty not
          following required practices


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          Recommendations:                                       Follow up:
      •   Create an exit strategy for those unable to •          A study of success in coursework versus
          complete the doctoral study                            doctoral study was underway with the Office
      •   Identify causes for lack of success in                 of Institutional Research and Assessment
          dissertation following success in coursework •         Research on possible exit strategy for
                                                                 students unable to finish doctoral study not
                                                                 yet started, although later university
                                                                 initiatives addressed this
      Ph.D. Counselor Education (2015; 2016)
      •   Change residency into a course to assist with •        N/A In process
          fees and allow more on-ground focus on skills



3.4.2 Accreditation Standings and Reports
OHE reviewed publicly-available accreditation standings. Most accrediting agencies list the date of initial
accreditation as well as the institution’s current standing. Self-study reports and accreditation reports and findings
were not publicly available.

The Ph.D. in Counselor Education and Supervision has specialized program accreditation with the Council for
Accreditation of Counseling and Related Programs (CACREP). Two reports on the program’s outcomes were
located on Walden’s website. One report states that eight students graduated from the Ph.D. in Counselor
Education and Supervision between summer 2016 and spring 2017, and of students who started the program
between winter 2009 and spring 2010, 15% have graduated. 239 The second report located on Walden’s website
states that, of students who graduated between winter 2010 and spring 2012, and completed their first quarter,
2% have graduated. 240




239https://www.waldenu.edu/-/media/Walden/files/phd-counselor-education-and-supervision/program-outcomes-report-
for-ces-2017.pdf?la=en

240
   https://www.waldenu.edu/-/media/Walden/files/phd-counselor-education-and-supervision/laur-2015-cacrep-phd-
v2.pdf?la=en

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Part Four: Conclusion and Recommendations

 4.1 Conclusion
OHE’s review and subsequent analysis of student complaint categories are of interest to OHE because of our
authority to approve academic programs and monitor statutory requirements.

Walden appears to have made improvements and/or implemented practices to address many of the issues as
raised in the student complaints. 241 These improvements have occurred within the last several years (e.g., 2018
updates to webpages, 2015 grading policy, 2014 MyDR system and subsequent 2017 outreach initiatives). The
degree to which these interventions adequately address the issues raised by student complaints should be
examined over time. Walden has provided preliminary information to OHE that complaints about the capstone
phase have decreased. 242 The four areas that appear to have the potential to address the issues as reflected in
doctoral student complaints include: grading policies for capstone courses, administrative monitoring of student
progress, program advertising, and timely and substantive feedback on student progress within the capstone
phase of the program. While these initiatives are promising, OHE is unable, at this time, to determine the long-
range impact of these initiatives upon the doctoral student experience.

4.1.1 Grading Policies
Faculty have responsibility for assessing satisfactory progress in capstone courses. New university-wide policies
introduced in 2015 provide greater clarity for students and faculty regarding expectations for substantive progress
on capstone work. The degree to which faculty are in compliance with the new grading policies would require an
audit of student records and submissions of dissertation or doctoral project drafts and quarter plans. With the
information provided to OHE for the program review, OHE is unable to substantiate whether faculty deviated from
grading policies and allowed for students to move through the capstone phase with minimal or no work submitted.

The new grading policy provides increased guidance and clarity to students and faculty, and are designed to ensure
students are making substantive progress each term. Under the new policy, if implemented appropriately and in
full, students will have clearer guidelines and requirements of work that must be completed in order to receive a
satisfactory grade in capstone courses.

4.1.2 Administrative Monitoring
The MyDR 243 system allows Walden to track students’ progression and time within the various capstone stages.
Information from this system is used to target interventions to students and committees who may not be




241 Additional program improvements are noted in Part 3.4, Accreditation and Program Evaluation.
242
    Walden letter to OHE 10/2/2017; referring to last three quarters at the time of writing; amount of decrease is unknown.
243 MyDR is a web-based system used by student to submit work and for faculty to assess work submitted.


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progressing. The system also allows administrators to view how long students are in various stages (e.g., number
of times students attempt to pass a certain stage).

Walden also has the ability to monitor committee feedback, turnover, and student assignments. Based on this
information, Walden has the ability to ensure faculty are in compliance with policies for timely return of student
work and ensuring smooth transitions through committee changes. Committee load policies were also recently
implemented, placing caps on the number of students assigned to faculty members. Under these new monitoring
abilities through MyDR, and as implemented appropriately and in full, Walden has the potential to address student
concerns as raised in the student complaints.

With the information as provided to OHE, the Agency is unable to substantiate whether Walden was appropriately
monitoring 1) student progression and time within various capstone stages, 2) committee feedback, 3) committee
loads, and 4) committee turnover.

4.1.3 Program Advertising
Newly-updated webpages display the range of costs and credits to complete a doctoral program. This is in contrast
to previous webpages that displayed the minimum costs to completion. Having the ability to anticipate that the
program may take longer than the minimum required may help manage student expectations regarding program
cost and length. The information on the webpages, however, does not provide contextual information for the
average student experience (e.g., how long does the average student take to complete).

While this update is beneficial in providing more clarity on the various paths and range of time to completion, it
is unknown to OHE the degree to which this will mitigate student complaints in this area.

4.1.4 Timely and Substantive Feedback
In addition to the new grading policies, Walden has implemented a required writing assessment that is
administered at the time of admission. This assessment allows Walden to recommend writing courses earlier in
the program to those students identified as needing additional support. Preliminary results indicated that those
who completed a writing course had their proposals approved faster than those who did not.

Doctoral advising teams are also targeting outreach efforts to students who are in the fifth or sixth year of their
program. Students at this stage are sent a warning letter reminding them of the maximum time to complete their
program. While this is important, it is not known if the administrative advisors are coordinating with the
committee on whether the student is making substantive progress to complete the program within time limits.

While early feedback to students is important, the degree to which these initiatives will have an impact on overall
student time to completion is unknown.




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 4.2 Recommendations
In order to validate policies, procedures, and information, the following is requested from Walden, to be
submitted within days from the date of this report:

       1. Current training manuals, policies, procedures, and other relevant information which govern the
          information shared by enrollment counselors and program advisors to prospective students on program
          length, time to completion, and program costs for doctoral programs 244 .

       2. Information provided to students (pre- and/or post-admission) regarding the capstone stages and steps
          to complete a dissertation or doctoral study/project. Specifically, students understand that it is the
          successful completion of the capstone stages that earn the degree; the credits alone are not sufficient.

       3. Formal policies on committee load for core and contributing faculty, including procedures for the
          assignment of students to faculty committees.

The long-term impact of Walden’s policy and program improvements upon the doctoral student experience are,
at this time, unknown. OHE is in need of evidence regarding the capstone phase initiatives are positively impacting
student success in the capstone phases. OHE is requesting Walden:

       1. Provide OHE with a capstone monitoring plan 245 to include data-informed benchmarks and internally-
          defined goals related to: student complaints, committee turnover, committee load, committee feedback,
          and student time-in-stages. Examples of possible goals:

           •    Decrease internally- and externally-filed student complaints, as related to the capstone phase
                (including contributing factors such as advertising, committee feedback, and committee turnover).
           •    Decrease doctoral committee turnover. Include data on the number of change request for a) faculty
                leaving the institution, b) faculty remaining with Walden but requesting the change, including
                reason for change request, and c) student-initiated changes. Provide data on the number of
                requests (by categories b and c) that are accepted or rejected.
           •    Increase number of (or ensure all) core and contributing faculty in compliance with committee load
                policies. Provide committee workload data pre- and post-policy adoption.
           •    Increase percentage of faculty with on-time (according to published policies) student capstone work
                reviews.
           • Decrease time in capstone stages, including number of URR rejections.
           The monitoring plan must be submitted within 60 days from the date of this report.

       2. At the time of the annual renewal process, submit metrics and performance against goals, as stated in the
          plan. These documents must be submitted to the Manager of Institutional Registration and Licensing.


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      After the current materials are provided, Walden will submit only new or modified materials or policies.
245
      OHE reserves the right to reject the monitoring plan.

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                                            Appendices




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Appendix A. MN Doctoral Program Review Process and Request
Letter to Walden
   1. This process document was provided to Walden. 246
Background

The Minnesota Office of Higher Education is responsible for the regulation of private institutions operating in
Minnesota. As part of our office’s regulatory oversight of these private institutions, our office investigates and
responds to complaints from students of these institutions. Our office recently received a letter from the
Minnesota Attorney General’s Office. The letter contains information related to numerous doctoral student
complaints filed with the Minnesota Attorney General’s Office. In addition, we have observed an increase in the
frequency of doctoral student complaints received by our office over the past 8 years. In an effort to better
understand the context, background, and issues related to doctoral student complaints in Minnesota, we are
initiating a full review of doctoral programs for institutions registered in the our state.

Doctoral Program Review Goals and Objectives
           The goals of the Doctoral Programs Review process are to:
       (1) understand the context, background, and issues related to doctoral student complaints by
conducting a comprehensive review at the institutional and programmatic level;
           (2) ensure that doctoral programs are providing quality programs for students;
           (3) collaborate with institutions to take corrective action, if needed;
           4) substantially decrease the frequency of doctoral student complaints.

       To accomplish the goals, data provided by Walden University will be examined based on the following
research objectives:

           A. Increase our understanding of student complaints filed internally at Walden University for the past 8
              years by examining the following data: student name, program name, dates of enrollment, relevant
              committee chair(s), committee members, date of initiation, date of resolution, nature of complaint,
              decision or outcome, tuition and fee waivers or refunds, and other remedial action.
           B. Increase our understanding of the total number of students enrolled in doctoral programs at
              Walden University for the past 8 years by examining the following data in Microsoft Excel: student
              name, program name, date of enrollment, and date of graduation (if applicable).
           C. Increase our understanding of the doctoral student complaint process between Walden University
              and the Minnesota Attorney General’s Office for the past 8 years by examining correspondence
              communications related to the following data: student name, program name, dates of enrollment,
              relevant committee chair(s), committee members, date of initiation, date of resolution, nature of
              complaint, decision or outcome, tuition and fee waivers or refunds, and other remedial action.



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      Provided to Walden 10/31/2016.

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          D. Increase our understanding of the doctoral student complaint process between Walden University
             and other State and Federal Agencies for the past 8 years by examining correspondence
             communications related to the following data: student name, program name, dates of enrollment,
             relevant committee chair(s), committee members, date of initiation, date of resolution, nature of
             complaint, decision or outcome, tuition and fee waivers or refunds, and other remedial action.
          E. Increase our understanding of curriculum program modifications for each doctoral program in the
             past 8 years presented a year-by-year/side-by-side format, including rationale for changes.
          F. Increase our understanding of Dissertation Handbook modifications for doctoral programs in the
             past 8 years presented a year-by-year/side-by-side format, including rationale.
          G. Increase our understanding of Dissertation Rubric modifications for doctoral programs in the past 8
             years presented a year-by-year/side-by-side format, including rationale.
          H. Increase our understanding of learning and content management systems used for doctoral
             programs over the past 8 years by examining the following information: rationale for changes,
             implementation for new systems, and a comprehensive description of how each is used for doctoral
             students.
          I. Increase our understanding the KAM process at Walden University by examining the following
             information: detailed explanation of the common problems associated with tracking KAMs, and
             rationale for why KAMs are “semi-structured, manual, and cannot be easily automated at Walden”.
          J. Increase our understanding of Faculty Mentor/Chair to Student ratios for the past 8 years by
             examining the following data in Microsoft Excel format: institutional-level, program-level, and
             individual-level ratios.
          K. Increase our understanding of program faculty teaching loads for the past 8 years by examining the
             following data in Microsoft Excel format: institutional-level, program-level, and individual-level
             program faculty teaching loads.
          L. Increase our understanding of faculty turnover rates for the 8 years by examining the following date
             in Microsoft Excel: institutional-level, program-level, and individual-level program faculty turnover
             rates.
          M. Increase our understanding of doctoral student retention rates by examining the following data in
             Microsoft Excel: year-by-year doctoral student institution retention rates and year-by-year doctoral
             student program retention rates.
          N. Increase our understanding of doctoral student graduation rates by examining the following data in
             Microsoft Excel: year-by-year doctoral student institution graduation rates and year-by-year
             doctoral student program graduation rates.


Process

The first step in the Doctoral Programs Review process is to notify the institution of the review process via letter.
Once our office receives the requested information from an institution, we will begin the research objectives-level
review. Should our office require any additional clarifying information, we will contact the institution for
additional information or questions. A team of reviewers in our office, led by Betsy Talbot, Manager of
Institutional Registration and Licensing, will analyze the data provided using standard statistical processes to

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understand trends and frequencies from the quantitative and qualitative data provided. The purpose is to help
our office better understand the context, background, nature, and type of Walden University Student complaints.

If our office believes there are opportunities for program revision, we will contact the institution to engage in
initial conversations of our findings. Next, we will provide the institution, in writing, with a summary of our
program review’s findings and specific recommendations (if any). The institution will have the opportunity to
review our office’s findings and recommendations. In addition, the institution will have an opportunity to
comment or offer additional supporting evidence should they feel our office has reached a conclusion in error.
After the comment period ends, our office will submit an official program review report to the institution, which
will include any required remedial action (if applicable) and relevant communication plans.

    2. Below is a copy of the initial letter from OHE to Walden:

September 16, 2016


Dr. Eric Riedel and Dr. John A. Sabatini, Jr.
Walden University
100 Washington Ave South, Suite 900
Minneapolis, MN 55401

Re: Walden University Doctoral Programs Information Request

Dear Drs. Riedel and Sabatini, Jr.:

The Minnesota Office of Higher Education is responsible for the regulation of private institutions
operating in Minnesota. As part of our office’s regulatory oversight of these private institutions, our
office investigates and responds to complaints from students of these institutions. Our office recently
received a letter from the Minnesota Attorney General’s Office. The letter contains information related
to numerous doctoral student complaints filed with the Minnesota Attorney General’s Office. In an
effort to better understand the context, background, and issues related to doctoral student complaints at
Walden University, we are requesting the following information:

    1. For every doctoral student complaint filed internally at Walden University in the past 8 years,
       please provide the following using Microsoft Excel:
           a. Student Name
           b. Program Name
           c. Dates of Enrollment
           d. Committee Chair(s) – Provide name(s) of chair(s) and length of service. Include changes
               in chair personnel.
           e. Committee Members – Provide names of all committee members and length of service.
               Include changes in committee membership.
           f. Month/Year complaint was initiated.
           g. Month/Year complaint was resolved.
           h. Nature of the complaint

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             i. Decision or outcome
             j. Tuition and fee waivers or refunds information, including amounts (if applicable)
             k. Other remedial action (if applicable)

    2. For every doctoral student enrolled in all doctoral programs at Walden University for the past 8
       years, please provide the following using Microsoft Excel:
           a. Student Name
           b. Program Name
           c. Dates of Enrollment
           d. Date of Graduation (if applicable)

    3. Copies of all correspondence communications with the Minnesota Attorney General’s Office
       regarding doctoral student complaints for the past 8 years. In addition to providing copies of the
       correspondence, please provide the following using Microsoft Excel:
           a. Student Name
           b. Program Name
           c. Dates of Enrollment
           d. Committee Chair(s) – Provide name(s) of chair(s) and length of service. Include changes
               in chair personnel.
           e. Committee Members – Provide names of all committee members and length of service.
               Include changes in committee membership.
           f. Month/Year complaint was initiated.
           g. Month/Year complaint was resolved.
           h. Nature of the complaint
           i. Decision or outcome
           j. Tuition and fee waivers or refunds information, including amounts (if applicable)
           k. Other remedial action (if applicable)

    4. Copies of all correspondence with other State and Federal Agencies regarding Doctoral Student
       Complaints for the past 8 years. In addition to providing copies of the correspondence, please
       provide the following using Microsoft Excel:
           a. Student Name
           b. Program Name
           c. Dates of Enrollment
           d. Committee Chair(s) – Provide name(s) of chair(s) and length of service. Include changes
              in chair personnel.
           e. Committee Members – Provide names of all committee members and length of service.
              Include changes in committee membership.
           f. Month/Year complaint was initiated.
           g. Month/Year complaint was resolved.
           h. Nature of the complaint
           i. Decision or outcome
           j. Tuition and fee waivers or refunds information, including amounts (if applicable)
           k. Other remedial action (if applicable)



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    5. A comprehensive, year-by-year, summary of curriculum program modifications for each doctoral
       program for the past 8 years. Include rationale for program changes and a side-by-side
       comparison of original curriculum to revised curriculum.

    6. A comprehensive, year-by-year, summary of Dissertation Handbook modifications for the past 8
       years. Include rationale for changes and a side-by-side comparison of original rubric to revised
       rubric. Simply submitting “versions” of the rubric will not suffice.

    7. A comprehensive, year-by-year, summary of Dissertation Rubric modifications for the past 8
       years. Include rationale for changes and a side-by-side comparison. Simply submitting
       “versions” will not suffice.



    8. A detailed list of all learning and content management systems (e.g., Moodle, Blackboard,
       Turnitin.com, Learning Agreement, etc.) used for doctoral program studies over the past 8
       years. Include a rationale for any changes, implementation of new systems, and a
       comprehensive description of how each learning and content management system is used for
       doctoral students.

    9. A comprehensive explanation for how KAMs are assessed and tracked. A detailed explanation
       of the common problems associated with tracking KAMs. Rationale for why KAMs are “semi-
       structured”, “manual”, and “cannot be easily automated at Walden” (see Samuel Mason
       complaint response letter provided to our office on August 1, 2016 for quoted information).

    10. Please provide Faculty Mentor/Chair to Student ratios data for each doctoral program for the past
        8 years. Include institutional-level, program-level, and individual-level data in Microsoft Excel.

    11. Please provide teaching loads for all doctoral faculty (including adjunct faculty) for the past eight
        years. Be sure to indicate doctoral program information. Include institutional-level, program-
        level, and individual-level data in Microsoft Excel.

    12. Please provide faculty turnover rates for all doctoral programs for the past 8 years. Include
        institutional-level and program-level details in Microsoft Excel.

    13. Please provide a current, up-to-date, copy of every doctoral faculty’s (including adjunct faculty)
        curriculum vitae.

    14. Please provide doctoral student retention rates, year-by-year, for the past 8 years. Include overall
        doctoral institution retention rates and retention rates by program for each of the past 8 years.
        Use Microsoft Excel for this request.

    15. Please provide doctoral student graduation rates, year-by-year, for the past 8 years. Include
        overall doctoral graduation rates and graduation rates by program for each of the past 8 years.
        Use Microsoft Excel for this request.


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Please return the information requested to our office no later than October 21, 2016. The Minnesota
Office of Higher Education is initiating a new procedure for investigating complaints using electronic
files. Please send your response electronically by uploading one compressed zipped folder to our secure
server. The compressed zip file should be named as follows: “Doctoral Programs_Walden University
_Requested Information”. The maximum file size for our server is 28.5 MB per upload. You may need
to upload more than one compressed zip file. Please upload the documents to our secure server by
contacting me for the server address and password prior to October 21, 2016. At that time, please
indicate if you will require more than one compressed zip file.


If you should have any questions about this matter please feel free to call me at 651-259-3965 or email
at betsy.talbot@state.mn.us at your convenience.
Sincerely,


Betsy Talbot,
Manager
Institutional Registration & Licensing

Enclosure




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Appendix C. Tuition Waivers
Walden has indicated that tuition waivers are an appropriate and timely financial resolution of legitimate concerns
raised by students, whether those concerns are directly attributable to Walden or not. 248 Students may request
from an academic advisor the “Internal Tuition Waiver Request Form” and on this form note the specific reasons
for requesting a waiver. Reasons for the requested waiver include: course registration, course materials,
residency, academic/faculty delay, financial aid related, transfer of credit, and other university department error.

A total of $17 million in tuition waivers to doctoral students were granted between January 2008 and June 2016.
For those students who filed a complaint, and as provided for OHE’s review, waivers totaled $1,830,691.58. The
reason for these waivers is not known in all cases. For cases in which Walden supplied a reason, these included
dissertation delays and delays due to faculty. For example, Walden noted “the student had been delayed by her
previous committee and awarded the student tuition waivers totaling $14,750.” In many instances, Walden did
not specify how much of the tuition waivers connected with the complainants were resulting from the complaint.

Beyond tuition waiver information related to students filing internal and external complaints, Walden provided
information on total tuition waivers granted from January, 2009 through September, 2016. Walden has noted
that, despite a tuition waiver category related to a Walden service (e.g., course or faculty), Walden is not
necessarily at fault in these cases. As shown in Figure A1, waivers related to medical and faculty reasons (28%
and 26%, respectively) make up the majority of the waivers granted to the total doctoral student population from
January 2008 and June 2016. Information on the types of waivers categorized as “faculty related” are not known
to the office. Waivers connected to issues involving MyDR and/or Task Stream totaled $58,404.13.




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      Walden letter to OHE 7/21/2017, p. 3

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    Figure A1. Tuition Waivers Provided by Walden, By Type, Amount, From Jan. 2009 through Sept. 2016



                                    $5,000,000.00

                                    $4,500,000.00

                                    $4,000,000.00

                                    $3,500,000.00
     Amount of Waivers




                                    $3,000,000.00

                                    $2,500,000.00

                                    $2,000,000.00

                                    $1,500,000.00

                                    $1,000,000.00

                                     $500,000.00

                                              $-
                                                                  1
                         Medical                             $4,375,582.50
                         Faculty Related                     $4,135,849.30
                         Personal                            $1,272,256.62
                         Walden Other                        $1,226,792.09
                         Student Other                       $1,133,512.34
                         Course Related                      $1,101,206.78
                         Failure to Attend                    $532,160.83
                         Financial Aid Related                $474,823.29
                         Military Related                     $370,517.82
                         Transfer of Credit                   $356,540.00
                         Student Communications               $290,182.02
                         Technical Issues                     $206,181.80
                         Natural Disaster                     $168,374.90
                         Materials                            $23,782.00
                         KAMs                                 $17,675.00




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Appendix D. Capstone Process Flowchart 249




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   As located in the Walden University Dissertation Guidebook (pp. 30-32)
https://academicguides.waldenu.edu/ld.php?content id=42353287

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Appendix E. Dissertation Process Worksheet 250

Updated June 6, 2016

This worksheet was created to help Ph.D. students keep track of the various steps to completing the dissertation.
Every student’s journey is a little different, so it is important to also follow the guidance of your academic advisors
and your supervisory committee, when formed.
Forms and Guides

           All documents, guides, and forms for the dissertation process are here:
           http://researchcenter.waldenu.edu/PhD-Dissertation-Process-and-Documents.htm

           All documents for the IRB application are here:
           http://researchcenter.waldenu.edu/Application-and-General-Materials.htm

Step 1: Committee Formation and Prospectus Development
        Review your program of study, or discuss with academic advisors, to determine when you will need to
         start your prospectus. At least two quarters prior to this time, complete Dissertation Premise (see guide
         for details).
        Ask academic advisors for advice and/or use the Faculty Expertise Directory (available on myWalden) to
         locate potential committee members, especially a chair.
        At least one quarter before starting the prospectus, send your premise and completed Committee
         Nomination Form to potential committee members. At the very least, you will want to have your chair
         selected this term.
        Find a second member for your committee, the timing of which will depend on the nature of your program
         and your project. At least one member needs to be designated as a content expert and one as
         methodologist.
        Submit your prospectus to the Office of Student Research Administration (OSRA) at
         research@waldenu.edu.
        Your nominees will submit their nomination forms to the Office of Student Research Administration
         (OSRA) at research@waldenu.edu.
        Receive notification that the committee member was approved by your program director.
        Finalize your prospectus, such that it meets all the quality indicators on the Prospectus Dissertation Rubric,
         and submit to MyDr/Taskstream for your committee for review.
        Committee members will evaluate your prospectus and complete their rubrics in MyDr/Taskstream if it is
         approved it will be sent forward for review by your program director.
        To obtain a university research reviewer (URR) upon approval of your prospectus, send the approved copy
         of your Dissertation Prospectus along with the URR Request Form to research@waldenu.edu, to request
         a URR.


Step 2: Proposal Development and Approval Process

250
      Retrieved from https://academicguides.waldenu.edu/researchcenter/osra/phd

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     Work with full committee to complete your Dissertation Proposal (the first three chapters), using the
      Dissertation Checklist that aligns to your methodology and the Basic PhD Dissertation Template (6th ed.),
      which is available on the Writing Center website, to support development.
     When the Dissertation Proposal is approved by your dissertation supervisory committee, it will be
      forwarded to the URR in Taskstream along with the Turnitin report, the Dissertation Checklist, which you
      need to complete, and the Dissertation Minimum Standards Rubric from each committee member.
     If revisions are requested by the URR, work with your chair and committee to address each revision. You
      will then resubmit the proposal to Taskstream.
     After the proposal has been fully approved (the chair, committee member, and URR have rated all areas
      of the Dissertation Minimum Standards Rubric as “met”), your chair will work with you to move forward
      with the oral conference for your proposal.
     Find three times that work for your committee members to hold an oral conference, and give the times
      to your committee chair.
     Receive confirmation from the OSRA that your conference has been scheduled
     Participate in and pass your oral conference. Make any remaining updates requested by your committee.
     You and your committee will be notified by Workflow and your landing page concerning the approval of
      the proposal.


Step 3: IRB Approval Process and Data Collection
     Complete IRB application with feedback from your chair and/or methodologist.
     After receiving approval of your proposal, submit IRB application and all supplemental materials to
      IRB@waldenu.edu.
     Complete any revisions requested by the IRB.
     Receive IRB approval and Notification of Approval to Conduct Research.
     Conduct your study.
     Begin preparing the final document by updating your proposal to be written in the past tense.


Step 4: Dissertation Completion and Approval Process
     Work with your dissertation committee to complete the remaining two chapters, using the Dissertation
      Checklist and Basic PhD Dissertation Template (6th ed.).
     When the dissertation is ready for review, you will upload it to Taskstream along with a copy of the
      Turnitin report, the Dissertation Checklist, which you need to complete.
     Your committee will then review, upon approval it will be sent to the URR for review.
     If revisions are requested by the URR, work with your chair and committee to address each revision.
     After the dissertation has been approved by the URR, it will be sent to for Form and Style review.
     If you haven’t done so already, please ensure that you have submitted your Graduation Application. The
      Graduation Application is located on the Student Services tab of your myWalden portal.
     Receive results of Form and Style review from the dissertation editors.
     Make all changes required by Form and Style review.
     Find three times that work for your committee members to hold and oral conference, and give the times
      to your committee chair. Again, note that the request for an oral conference line must be made at least
      1 week prior to the requested dates.
     Receive confirmation from OSRA that your conference has been scheduled.

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     Participate in and pass your oral conference, and make any required revisions that have been requested
      by your committee.
     Submit a copy of your dissertation to Taskstream for committee and URR review.
     If revisions are requested by the URR, work with your chair to address each revision. You will then
      resubmit to Taskstream
     Receive notification of URR approval via Workflow and your landing page.


Step 5: Final Steps Prior to Graduation
          Receive confirmation that your abstract has been submitted to the chief academic officer (CAO)
          If revisions are requested by the CAO, work with your chair and URR to address each revision. You will
           need to resubmit to Taskstream.
          Receive final approval of the dissertation from the OSRA.
          Complete submission to ProQuest, per instructions from the OSRA.
          Receive confirmation that your ProQuest submission has been accepted
          Complete and return Survey of Earned Doctorates
          Receive confirmation from graduation@waldenu.edu that your degree audit has been completed.
          Review myWaldenAlumni for more information on attending commencement. Remember, if you
           want to participate in graduation ceremonies, approval of your dissertation and your final degree
           audit must occur at least one quarter before the term in which the ceremony occurs.




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Appendix F. Walden Recruitment and Advisement
OHE asked Walden to explain its recruitment processes for doctoral programs, to provide information on how
leads are obtained and followed up on, to describe any career fair or convention-type events used off-campus to
recruit students, and to include any admissions scripts and training materials used by admissions representatives.
The following represents a summary of the information reviewed with notations that are relevant to the current
program review.

                                 Table A1. Summary of Enrollment Advisor Materials

     INFORMATION REVIEWED                                 NOTES RELEVANT TO PROGRAM REVIEW
     Guided Responses Handbook: How to answer,            Information for enrollment advisors on best
     explain, and advise students effectively and         practices, responding to prospects questions on
     clearly                                              for-profit status, support services, accreditation,
                                                          transfer credits, etc. There is no information
                                                          provided relating to completion rates or how long
                                                          it will take to complete a program.
     Onboarding                                           Photocopy of binder of training materials, several
                                                          from 2013, 2015; financial aid training
     Ph.D. in Education, Program Information Guide        Time to completion varies by student, please
     (10/18/2016)                                         refer to the program data page for this program’s
                                                          time to completion metrics (no hyperlink)
     Ed.D. Residencies                                    Questions and answers regarding residencies and
                                                          support provide and benefits of them.
     Ph.D. in Education (October 2015)                    Training materials in video format with Q and A
                                                          for enrollment advisors and a quiz based on
                                                          prospect background to aid in matching prospect
                                                          to best program.
     Key Elements of Walden’s Doctoral Programs in        Comparison between the DrPH and Ph.D. in
     Public Health                                        Public Health. Includes credit and cost
                                                          comparisons.
     DBA, Program Information Guide (10/17/2016)          Time to completion varies by student, please
                                                          refer to the program data page for this program’s
                                                          time to completion metrics (no hyperlink).
     Ph.D. in Management, Program Information             Time to completion varies by student, please
     Guide (10/17/2016)                                   refer to the program data page for this program’s
                                                          time to completion metrics (no hyperlink).


Additional information was requested from Walden regarding admissions materials (degree plan templates,
enrollment agreements) and advising materials (degree planning tools, degree auditing tools, advising
guidebooks) related to time to completion.




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                 Table A2. Walden-supplied Advising Information as Related to Time to Completion

        DOCUMENT                                           NOTES RELEVANT TO REVIEW
        Office of Financial Aid Program Terms and          Satisfactory academic progress (SAP) standards
        Conditions (2016-2017)                             (p. 32)
        SAP maximum timeframe warning notice               Template of letter for students close to reaching
                                                           max timeframe for federal financial aid
        SAP maximum timeframe reached/exceeded             Template of letter for students who have
        notice                                             reached or exceeded max timeframe for federal
                                                           financial aid
        SAP progress appeal                                Steps for students who wish to appeal financial
                                                           aid SAP.
        Student Handbook (2016-2017)>Enrollment            Time limits from initial enrollment to completion
        Requirements                                       of degree are listed by degree level.
        Sample degree audit                                Output of degree audit for a student. Lists catalog
                                                           term and expected graduation date (eight years
                                                           from the time a student enrolls).
        Quick answer on time to completion 251             States academic advisor can give a general
                                                           estimate on length most students take to
                                                           complete their programs.
        Sample letter to students in year five or six of   Letter template with Walden policies on time
        their program                                      limits of degree levels, link to student handbook,
                                                           and possible consequences of reaching time
                                                           limits.
        Sample Program of Study document (Ph.D.            Program of study template which lists minimum
        Management)                                        required credits and sequence of courses.
        Individual Academic Plan                           Required for students who are not making
                                                           adequate progress in their program; requires
                                                           reflection on progress and goal-setting.
        Enrollment verification letters                    Sample of a letter sent upon request; reflects
                                                           eight year time to completion and anticipated
                                                           graduation date.

Additional materials related to time to completion and degree plans were reviewed through the context of
reviewing complaints.

                                    Table A3. Program Guides, As Reviewed by OHE

        DOCUMENT                                           NOTES RELEVANT TO REVIEW
        Walden University DBA Program Developmental        For the DBA 9000 Doctoral Study Courses, states
        Process Flowchart 252                              “Approximately 5 terms/40 weeks” and
                                                           “generally, plan to take DBA 9000 five times”


251   http://academicanswers.waldenu.edu/faq/72925
252
      Q04_000651

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        DOCUMENT                                NOTES RELEVANT TO REVIEW
        DBA Program Sequence 253                States the DDBA 9000 courses are taken as many
                                                time as needed to complete the degree typically
                                                a minimum of 5 terms”
        Lifecycle of a Walden DBA Student 254   The 4-credit Doctoral Study Completion Course is
                                                taken as many times as needed to complete the
                                                degree (typically a minimum of 5 terms).




253
      Q04_000650
254
      Q04_000647-649

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Appendix G. Substantial Progress Grading 255




  Provided by Walden to OHE, 8/14/2017, in response to OHE’s request for Walden’s process for monitoring academic
255

performance during the dissertation writing process.

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